               Case 17-31724                     Doc 16            Filed 11/27/17 Entered 11/28/17 09:30:21                                                Desc Main
                                                                    Document     Page 1 of 44


 Debtor 1

 Debtor 2
                 JoVana
                  Fl~-

 (Spouse, ii filing) Rm Name
                                                  ·--
                                                    D

                                                  MlddfeN11me
                                                                            Zackowski
                                                                                 LllSIName



                                                                                 LastN""1e

                                                                                                                              2011 NOV 21 P 3: 52
 United States Bankruptcy Court for the: District of Connecticut
                                                                                                 El
 case number 17-31724 amn                                                                                                            FJLE:O           [J Ch k • h. ·
                   (lfknOM'!)
                                                                                                                         CLERK,U.S. BANKRUPTCY , 0 ·,, • ec "t IS is an
                                                                                                                           OISTF:ICT.0!' r T,H:rr· · · amended filing



Official Form 106Sum
Summary of Your Assets and Llabllltles and Certain Statlstlcal Information                                                                                                        1211s
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. Fill out all of your schedules first; then complete the lnfonmatlon on this form. If you are filing amended schedules - r you file
your original forms, you must fill out a new summa,y and check the box at ths top of this page.


fifE         Summartu Your Aaaeta

                                                                                                                                                               Your assets
                                                                                                                                                               Value of what you own

1. Schedule /VB: Property (Official Form 106A/B)
                                                                                                                                                                   $      129,470.00
   la. Copy line 55, Total real estate, from Schedule /VB ........ .


   lb.Copy line 62, Total personal property, from Schedule/VB ..............................................................................................       $ _ _7-',_39'--0_.o_o



   le. Copy line 63, Total of all property on Schedule AIB ......... .                                                                                                    136,860.00 1
                                                                                                                                                                   $



fi§fl        Summarlza Your Llabllltles


                                                                                                                                                               Your liabilities
                                                                                                                                                               Amount you awe
2. Schedule D: creditOIS Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                   $              0.00
   2a. Copy the lotal you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ........... .

3. Schedule EIF: Credilors Who Have unsecured Claims (Official Form 106E/F)
                                                                                                                                                                   $              0.00
   3a. Copy the 1ota1 claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF ....... ................................... .

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EIF ...................... ,............... .                             22,866.45
                                                                                                                                                               +   $


                                                                                                                                Your total liabilities             $       22,866.451


fifE         Summarize Your Income and llxpe11Ma


4. Schedule I: Your Income (Official Form 1061)
   Copy your combined monthly income from line 12 of Schedule I                                                                                                    $
                                                                                                                                                                       - - -3,223.85
                                                                                                                                                                             ---
5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                   $         2,069.00
   Copy your monthly expenses from line 22c of Schedule J .......... .                                                                                                 -----'----




Official Form 106Sum                             summary of Your Assets and Liabilities and Certain Statistical Information                                              page 1 of 2
                Case 17-31724               Doc 16            Filed 11/27/17 Entered 11/28/17 09:30:21                            Desc Main
                                                               Document     Page 2 of 44
   Debtor 1    JoVana
                 Flrs!Nmne
                               M--           D                   Zackowski                          casenumberc,.,_,,, 17-31724 amn


               Answer Th. . . Qu-tlons for Administrative and Statlstlcal Records

    6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       CJ No. You have nothing to report on this part of the 1orm. Check this box and submit this form to the court with your other schedules.
       l!D Yes

   7. What kind ol debt do you have?

       II Your debts are primarily consumer debts. Consumer debts are those ·tncurred by an individual primarily for a personal,
          family, or household purpose.-11   u.s.c. § 101(8). Fill out lines B-9g for statistical purposes. 28 u.s.c. § 159.
       tJ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.



   a. From the Statement of Your Cum1nt Monthly Income: copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Fam, 122C-1 Line 14.                                                                $   - - -3,223.85
                                                                                                                                                    ~--




   9. Copy the following special categories of claims from Pan 4, line 6 of Schedule E/F:


                                                                                                          Total claim


        From Pan 4 on Schedule EIF, copy the following:


      9a. Domestic support obligations (Copy line 6a.)                                                    $                    0.00

      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $                    0.00

      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                    0.00


      9d. Student loans. (Copy line 61.)                                                                  $                    0.00

      9e. Obligations arising out of a separation agreement or divorce that you did not report as         $                    0.00
          priority claims. (Copy line 6g.)


      91. Debts to pension or profit-sharing plans, and other simHar debts. (Copy line 6h.)             +$                     0.00

      9g. Total. Add lines 9a through 91.                                                                 $                    0.00   I




Official Form 106Sum Summary of Your Assets and Liabilities and Cenaln Statistical Information                                                   page 2 of 2
                Case 17-31724                    Doc 16                Filed 11/27/17 Entered 11/28/17 09:30:21                                 Desc Main
                                                                        Document     Page 3 of 44


Debtor 1            JoVana                           D                       Zackowski
                    Fll"!ll:Nmne                 Mlddle Name

Debtor 2
(Spouse, if fling) Flrst Name                    tJl.:jdle Nllffle                ~!Name


Unrted States Bankruptcy Court for the: District of Connecticut                                                           2811 NOV 27 P 3: 52
case number 17-31724 amn                                                                                                             FILED
                                                                                                                       CLfRl\,ll.S. 8ANKRUPTG'f c(i;il Ctleck if this is an
                                                                                                                          DIS",RICT Gr   c,c:·•·r :· ·     amended tiling
                                                                                                                                        ;' '·

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                 12115
In each category, separately list and describe items. List an asset only once. tf an asset fits in more than one category, list the asset in the
category where you think tt fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (If known). Answer every question.


              Deacrlbe l!ach        R e - , BuNdlnlt, Land, or Other Real ll!lltate Y- OWn or Have an l n - t In
1. Do you own          or have any I - ' or equttable interest in any residence, building, land, or similar property?
   Q      No. Go to Part 2.
    l!D   Yes. Where is the property?
                                                                         What Is the property? Check all that apply.
                                                                                                                                 Do not deduct secured dalms or exemptions. Put
                                                                         131    Single-famdy home                                the amount of any secured claims on Schedule D:
             515 Hunting Hill Ave
     1.1.
             Street address, if available, or other description
                                                                         a      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property,

                                                                         CJ     condominium or cooperative                       current value of the     Current value of the
                                                                         CJ     Manufactured or mobile home                      entire property?         portion you own?
                                                                         Q      Land                                             $      129,470.00        $._ _ _ _ __
                                                                                                                                 ·------
             Middletown                      CT            06457
                                                                         CJ     lnvestmentproperty
                                                                         CJ     Timeshare                                        Describe the nature of your ownership
             City                            State          ZIP Code                                                             interest (such as fee simple, tenancy by
                                                                         [J Other _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                 the entireties, or a life estate), If known.
                                                                         Who has an interest in the property? Check one.

             Middlesex                                                   Q Debtor 1 only
             County                                                      [J Debtor 2 only
                                                                         [J Debtor 1 and Debtor 2 only                           CJ Check if this is community property
                                                                                                                                     (see instructions)
                                                                         CJ At least one of the debtors and another
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number: _ _ _ _ _ _ _ _ _ _ _ __

   If you own or have more than one, list here:
                                                                        What is the property? Check aU that apply.              Do not deduct secured claims or exemptions. Put
                                                                        Cl     Single-family home                               the amount of any secured claims on Schedule D:
     1.2.
             Street address, if avaitabfe, or other description
                                                                        a      Duplex or multi-unit building
                                                                                                                                Credttors Who Have Claims Secured by Property.

                                                                        [J   Condominium     or cooperative                      current value of the     Current value of the
                                                                        CJ     Manufactured or mobile home                       entire property?         portion you own?
                                                                        [J Land                                                  $,_ _ _ _ __             $c.___ _ _ __
                                                                        [J     Investment property
                                                                                                                                 Describe the nature of your ownership
             City                            State          ZIP Code
                                                                        0      Timeshare
                                                                                                                                 interest (such as fee simple, tenancy by
                                                                        Q      Other _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                 the entireties, or a life estate), if known.
                                                                        Who has an interest In the property? Check one.
                                                                        CJ Debtor 1 only
             County                                                     Q    Debtor 2 only
                                                                        D Debtor 1 and Debtor 2 only                            CJ Check if this is community property
                                                                        l:J At least one of the debtors and another                  (see instructions)

                                                                        Other Information you wish to add about this item, such as local
                                                                        property Identification number:


Official Form 106A/B                                                     schedule A/B: Property                                                                   page 1
   .
 Debtor 1
                       Case 17-31724
                       JoVana
                                                    Doc
                                                     D
                                                        16           Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
                                                                         Zackowski
                                                                      Document               44 number<H•-> 17-31724 amn
                                                                                   Page 4 of Case
                       FirSIName      M!dllleName




                                                                      What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put

       1.3.
                                                                      CJ     Single-family home                         the amount of any secured claims on Schedule D:
                                                                                                                        Creditors Who Have Claims Secured by Property.
                Street address, if available, 01 other description    Q     Duplex or multi-unit building
                                                                      l:l   Condominium or cooperative                  Current value of the      Current value of the
                                                                                                                        entire property?          portion you own?
                                                                      CJ    Manufactured or mobile home
                                                                                                                                                  $ _ _ _ _ __
                                                                      CJ    Land                                        $~-----
                                                                      CJ     tnvestment propeny
                Clly                            State     ZIP Code    l:J   Timeshare                                   Describe the nature of your ownership
                                                                                                                        Interest (such as fee simple, tenancy by
                                                                      CJ    Other _ _ _ _ _ _ _ _ _ _ __
                                                                                                                        the entireties, or a life estate), it known.
                                                                      Who has an interest in the property? Check one.
                                                                      CJ Debtor 1 only
                County
                                                                      CJ Qebtor 2 only
                                                                      CJ Oebtor 1 and 0ebtor 2 only                     CJ Check H this Is community property
                                                                                                                            (see instructions)
                                                                      CJ AJ. least one of the debtors and another
                                                                      Other information you wish to add a.bout this Item, such as local
                                                                      property identification number: ~ - - - - - - - - - -




fifj             a>eacrlbe Your Vehlclea


Do you own, lease, or have legal or equitable Interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans1 trucks, tractors, sport utility vehicles, motorcycles

   CJ      No
   il:11   Yes


    3.1.        Make;                       Chrysler                  Who has an interest in the property? Check one.   Do not deduct secured claims or exempuons. Put
                                                                                                                        the amount of any secured claims on Schedule D:
                Model:                      300m                      ill oebtor 1 only                                 Creditors Who Have Claims Secured by Property.
                                            2001                      CJ Qebtor 2 only
                Year:                                                                                                   Current value of the      Current value of the
                                                                      CJ oebtor 1 and oebtor 2 only
                Approximate mileage:        96000                                                                       entire property?          portion you own?
                                                                      Cl At least one of the debtors and another
                Other information:
                                                                                                                        $   1,980.00              $ _ _ _ _ _ __
                                                                      CJ Check if this is community property (see        ·--- ---
                                                                            instructions)



   If you own or have more than one, describe here:

   3.2.       Mal<e:                                                  Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                        the amount of any secured claims on Schedule D:
              Model:
                                                                      CJ Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                                      CJ oebtor 2 only
              Year:                                                                                                     current value of the      Current value of the
                                                                      CJ Debtor 1 and Debtor 2 only                     entire property?          portion you own?
              Approximate mUeage:                                     CJ At least one of the debtors and another
              Other information:
                                                                                                                        $._ _ _ _ __              $._ _ _ _ __
                                                                      CJ Check If this Is community property (see
                                                                            instructions)




Official Form 106A/B                                                  Schedule A/B: Property                                                             page2
                   Case 17-31724                   Doc 16           Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
                   JoVana                           D                   Zackowski           Case number"""""'' 17-31724 amn
 Debtor 1
                     F1ts!NMU!       Middle Name        Las! Neme
                                                                     Document     Page 5 of 44



    3.3.        Make:                                                Who has an Interest In the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                       lhe amount of any secured claims on Schedule D:
                Model:
                                                                     CJ Oebtor 1 ooly                                  Creditors Who Have Claims Secured by Property.
                                                                     CJ DebtO< 2 only
                Year:                                                                                                  Current value of the      Current value of the
                                                                     CJ Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                       entire property?          portion you own?
                                                                     CJ At least one of the debtors and another
                Other information:
                                                                                                                       $c.__ _ _ __              $,_ _ _ _ _ __
                                                                     CJ Check H this is community property (see
                                                                          instructions)


    3.4.        Make:                                                Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of aoy secured claims on Schedule D:
                Model:                                               CJ Oebtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                                     CJ Oebtor 2 only
            Year:                                                                                                      current value of the      Currant value of the
                                                                     [J   Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                       entire property?          portion you own?
                                                                     [J   AJ least one of the debtors and another
            Other information:
                                                                                                                       $,_ _ _ _ __              $,_ _ _ _ __
                                                                     CJ Check if this is community property (see
                                                                          instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   i!D     No
   [J Yes

    4,1,    Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
            Model:                                                   CJ DebtO< 1 only                                  Creditors Who Have Claims Secured by Property.
                                                                     CJ Debtor 2 only
            Year:
                                                                     Cl Debtor 1 and Debtor 2 only                     Current value of the      Current value of the
            Other information:                                       CJ At least one of the debtors and another        entire property?          portion you own?

                                                                     CJ Check Wthis is community property (see         $,_ _ _ _ __              $,_ _ _ _ __
                                                                          instructions)



   If you own or have more than one, list here:

   4.2.     Make:                                                    Who has an interest In the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
            Model:                                                   CJ Oebt0< 1 only                                  Creditors Who Have Claims Secured by Property.
                                                                     CJ Debtor 2 only
            Year:                                                                                                      current value of the      current value of the
                                                                     D Debtor 1 and Debtor 2 only                      entire property?          portion you own?
            Other information:                                       CJ At least one of the debtors and another
                                                                                                                       $,_ _ _ _ _ __            $,_ _ _ _ _ __
                                                                     CJ Check If this Is community property (see
                                                                          instructions)




s Add the dollar value of the portion you own tor all of your entries from Part 2, including any entries for pages
   you have attached tor Part 2. Write that number here
                                                                                                                                        ,+ r·-----'1,_98_0_.o_o




Official Form 1OSA/B                                                 Schedule A/B: Property                                                             page3
                   Case 17-31724                          Doc 16          Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
                                                                             Zackowski
 De°btor 1        JoVana
                    Firs1 Nam<!         MiddleN!ll'llf!
                                                          D
                                                              Last Name
                                                                           Document               44numbef(Nkoow,) 17-31724 amn
                                                                                        Page 6 ofcase


16-1            DNcrlbe Your Penional and HouHhokl Items
                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following Items?                                                portion you own?
                                                                                                                                 Do not deduct secured claims
                                                                                                                                 or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    IJ     No
    ill    Yes. Describe ........ Household furniture & appliances                                                                $· - - - - 2,000.00
                                                                                                                                             ----
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    IJ     No
    ill    Yes. Describe ......... TVs, stereo, DVD player                                                                        $      500.00
                                                                                                                                   ·--------
s. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   i :11   No
    Cl     Yes. Describe ....                                                                                                     $       0.00
                                                                                                                                   ·--------
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf dubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   i :11   No
    l:l    Yes. Describe                                                                                                          $,_ _ _ _ _o.:c·.:..oo'-


10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   i :11   No
    l:l    Yes. Describe ...                                                                                                      $       0.00
                                                                                                                                   ·--------
11.Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   IJ      No
   ill     Yes. Describe..        .... Everyday clothes                                                                           $      500.00
                                                                                                                                   ·--------

12.Jewelry
   Exam~es: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
            gold, silver
    IJ No
    W Yes. Describe.·········· Costume Jewelry                                                                                    $
                                                                                                                                    - - - - - -50.00
                                                                                                                                                --
13. Non.farm animaJs
   Examples: Dogs, cats, birds, horses
    IJ     No
    Iii    Yes. Describe .......... .                                                                                             $ _ _ _--=1=-4c::o.:..:.o:.::_o
                                        7 cats
14. Any    other personal and household items you did not already list, including any health aids you did not list

    lill   No
    CJ     Yes. Give specific                                                                                                     $ _ _ _ _ _0;_·.:..00_
           information ..

15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached                    $,_ _ _          _,,3,.,,1""9""0."'00"-
    for Part 3. Write that number here ..........................                                                        ... +

 Official Fonm 106NB                                                       Schedule AIB: Property                                                 page 4
                   Case
                   JoVana17-31724          Doc
                                            D 16              FiledZackowski
                                                                    11/27/17 Entered 11/28/17 09:30:21 Desc Main
 Debtor 1                                                                              Case number~"'°""'' 17-31724 amn
                             Middle Name           Lasl Name   Document      Page 7 of 44


1111            llflcrtbe Your Financial Asuta

Do you own or have any legal or equitable interest In any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured claims
                                                                                                                                   or exemptions.

16.C&sh
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   IJ     No
   ill    Yes ..                                                                                            Cash:                   $                20.00


17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   IJ    No
   IJ    Yes                                                     Institution name:


                             11.1. Checking account:             Citizens Bank                                                      $            2,000.00
                             11.2. Checking account:                                                                                $
                             17.3. Savings account:              Citizens Bank                                                      $               200.00
                             17.4. Savings account
                                                                                                                                    $
                             11.s. Certificates of deposit:                                                                         $
                             17.6. Other financial account:                                                                         $
                             17.7. other financial account:
                                                                                                                                    $
                             na. Other financial account:                                                                           $
                             17.9. Other financial account:
                                                                                                                                    $




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   ill   No
   Q     Yes                 Institution or issuer name:

                                                                                                                                   $._ _ _ _ _ __
                                                                                                                                   $,_ _ _ _ _ __
                                                                                                                                   $._ _ _ _ _ __




19. Non-publicty traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   II No                     Name of entity:                                                               % or ownership:
   CJ Yes. Give specific                                                                                   0%
                                                                                                           _ ___%                  $
         information about
         them .......                                                                                      0%
                                                                                                           _ ___%
                                                                                                                                   $
                                                                                                            0% _ _ %
                                                                                                           __:__:___               $




Official Fom, 106A/B                                           Schedule AIB: Property                                                          page5
                 Case 17-31724                Doc 16          Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
 Debtor 1        JoVana                       D                  Zackowski
                  FlrslName   MtddleName
                                                               Document               44 number"""""'' 17-31724 amn
                                                                            Page 8 ofCase


20. Government and corporate bonds and other negotiable and non-negotiable Instruments
   Negotiable ;nstruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Nonwnegotiable instruments are those you cannot transfer to someone by signing or delivering them.

    W No
    Cl Yes. Give specific     Issuer name:
        information about
        them ..                                                                                                                  $c___ _ _ _ __

                                                                                                                                 $c___ _ _ _ __
                                                                                                                                 $._ _ _ _ _ _ __


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or proflt~sharing plans
   W No
   Cl   Yes. List each
        account separately.   Type of account:          Institution name:

                              40l(k) or similar ptan:   __________________________                                               $._ _ _ _ _ _ __

                              Pension plan:             __________________________                                               $._ _ _ _ _ _ __

                              IRA:                      ________________________                                                 $,_ _ _ _ _ __

                              Retirement account:       __________________________                                               $._ _ _ _ _ _ __

                              Keogh:                    __________________________                                               $._ _ _ _ _ _ __

                              Additional account        __________________________                                               $,_ _ _ _ _ _ __

                              Additional account        __________________________                                               $._ _ _ _ _ _ __



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent. public utilities (electric, gas, water), telecommunications
   companies, or others

   liilNo
   Cl   Yes.                                       Institution name or individual:

                              Electric:                                                                                          $,_ _ _ _ _ __
                              Gas:                                                                                               $._ _ _ _ _ _ __
                              Heating oil:                                                                                       $._ _ _ _ _ _ __
                              Security deposit on rental unit: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                    $._ _ _ _ _ _ __
                              Prepaid rent:                                                                                      $,_ _ _ _ _ __
                              Telephone:                                                                                         $._ _ _ _ _ _ __
                              Water:                                                                                             $._ _ _ _ _ _ __
                              Rented furniture:                                                                                  $._ _ _ _ _ _ __
                              Other:                                                                                             $._ _ _ _ _ _ __


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   W No
   Cl Yes ....                Issuer name and description:

                                                                                                                                 $
                                                                                                                                 $,_ _ _ _ _ __
                                                                                                                                 $._ _ _ _ _ __


Official Fonrn 106A/B                                           Schedule AIB: Property                                                   page6
              Case 17-31724                     Doc
                                                 D
                                                    16       Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
                                                                 Zackowski
              JoVana                                                                                         amn
 Debtor 1
                R1stN111irne    MlddleNIIITH!
                                                              Document     Page 9 of Casenumber(H,_,17-31724
                                                                                     44

24. Interests in an education IRA, in an account In a qualified ABLE program, or under a qualified state tuition program.
     26 u.s.c. §§ 530(b)(l), 529A(b), and 529(b)(l).
   1!11 No
   IJ   Yes                              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                                                                                                              $_ _ _ _ _ __

                                                                                                                                              $ _ _ _ _ __

                                                                                                                                              $_ _ _ _ _ __



25. Trusts, equitable or future interests In property (other than anything listed In line 1), and rights or powers
    exercisable for your benefit

   1!11 No
   IJ   Yes. Give specific
        information about them ....                                                                                                           $._ _ _ _ _ _ __


26. Patents, copyrights, trademarks, tradesecrets, and other Intellectual property
   Examples: Internet domain names, websites, proceeds from royaltles and llcensing agreements
   1!11 No
   CJ   Yes. Give specific
        information about them ....                                                                                                           $._ _ _ _ _ __


27. Licenses, franchises, and other generaJ intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   1!11 No
   Cl   Yes. Give specific
        information about them ....                                                                                                           $_ _ _ _ _ __



Money or property owed         to you?                                                                                                        Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduce secured
                                                                                                                                              claims or exemptions.

28. Tax refunds owed to you

   1!11 No
   CJ   Yes. Give specific information                                                                              Federal:
                                                                                                                                         $ _ _ _ _ _ __
             about them, including whether
             you already filed the returns                                                                          State:               $ _ _ _ _ __
             and the tax years ......... .                                                                                               $ _ _ _ _ _ __
                                                                                                                    Local:



29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   1!11 No
   CJ   Yes. Give specific information ..
                                                                                                                   Alimony:                   $._ _ _ _ _ __
                                                                                                                   Maintenance:               $._ _ _ _ _ __
                                                                                                                   Support:                   $._ _ _ _ _ __
                                                                                                                   Divorce settlement:        $._ _ _ _ _ __
                                                                                                                   Property settlement        $. _ _ _ _ _ __

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                Social Security benefits; unpaid loans you made to someone else
   1!11 No
   (J Yes. Give specific information.
                                                                                                                                              ··---------

Official Form 106A/B                                            Schedule A/B: Property                                                                  page 7
                Case 17-31724
                JoVana
                                                Doc
                                                 D
                                                    16            Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
                                                                      Zackowski
 Debtor 1
                                 Mlddfe Nwne          Last Name
                                                                   Document                44 number'"'"""' 17-31724 amn
                                                                                Page 10 ofCase


31. Interests In Insurance policies
    Examples: Health, disability, or fife insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    !I) No
    l:l   Yes. Name the insurance company             Company name:                                         Beneficiary:                              Surrender or refund value:
               of each policy and list its value ..
                                                                                                                                                     $._ _ _ _ _ __
                                                                                                                                                      $ _ _ _ _ _ __

                                                                                                                                                      $ _ _ _ _ __

32. Any interest In property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   ill    No
   CJ     Yes. Give specific information ....
                                                                                                                                                     $ _ _ _ _ _ _ __



33. Claims against third parties, whether or not you have flied a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   ill    No
   [J Yes. Describe each claim ....
                                                                                                                                                     $ _ _ _ _ _ _ __


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
   ill    No
   IJ     Yes. Describe each claim ..
                                                                                                                                                     $ _ _ _ _ _ _ __




35. Any financial assets you did not already list

   ill    No
   l:l    Yes. Give specific information



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here __ .... .........                                                       .. .........               +
                                                                                                                                                   I
                                                                                                                                                   L~:'.:=:::::::::::::::2='::2=2=0=.O=O:...l


               Descrtbe Any auslness-llelated Property You Own or Have an Interest In. List any real estate In Part 1.

37. Do you own or have any legal or equitable Interest in any business--related property?
   ill    No. Go to Part 6.
   IJ     Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned
   ill    No
   CJ     Yes. Describe ....
                                                                                                                                                   $ _ _ _ _ _ _ _ __


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers. copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   ill    No
   IJ     Yes. Describe ..                                                                                                                         $._ _ _ _ _ _ __




Official Fonn 106A/B                                               Schedule A/B: Property                                                                            pages
                     Case 17-31724
                    JoVana                         Doc
                                                   D
                                                       16        Filed 11/27/17
                                                                Zackowski
                                                                                      Entered 11/28/17 09:30:21 Desc Main
 Mtor1
                       firatNamE!    Middle Name         u,,._ Document                         44number,,,_ 17-31724 amn
                                                                                     Page 11 ofCase

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    1!11 No
    Q      Yes. Describe ...... .
                                                                                                                                  $._ _ _ _ _ _ __


41. Inventory
    wit   No
    CJ    Yes. Describe ....                                                                                                      $,_ _ _ _ _ _ __


42. Interests in partnerships or joint ventures
   1!11 No
   CJ     Yes. Describe.......      Name of entity:
                                                                                                               % of ownership:
                                                                                                               _ _ _%             $._ _ _ _ _ _ _ __
                                                                                                               _ _ _%             $,_ _ _ _ _ _ _ __
                                                                                                               _ _ _%             $,_ _ _ _ _ _ _ __


43. Customer         lists, mailing lists, or other compilations
   wit    No
   0      Yes. Do your lists include personally Identifiable information (as defined in 11   u.s.c. § 101(41A))?
                  Q    No
                  Q    Yes. Describe ..
                                                                                                                                   $,_ _ _ _ _ __


44. Any business-related property you did             not already list
   Iii!   No
   CJ     Yes. Give specific
          information                                                                                                              $
                                                                                                                                   $
                                                                                                                                   $

                                                                                                                                   $
                                                                                                                                   $
                                                                                                                                   $

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
   for Part 5. Write that number here                                                                                   ..... +   1$                     0.001

                 Dtlacrlbe Any Farm- and Commercial Flahlng-Ralatacl Property You Own or Have an lntareat In,
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   1!11 No. Go to Part 7.
   Q      Yes. Go to line 47.

                                                                                                                                  current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured claims
                                                                                                                                  or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   wll    No
   Q      Yes .......... .

                                                                                                                                    $



Official Form 106A/B                                               Schedule A/B: Property                                                      page9
    .
   Debtof 1
                    Case
                    JoVana17-31724                      Doc
                                                         D 16          Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
                                                                           Zackowski
                       Fir$!   Nllllltl   Middle Name      LllStName    Document                44 number titkn<MnJ 17-31724 amn
                                                                                     Page 12 ofCase

  48. Crops-either growing or harvested
     1!11 No
     CJ     Yes. Give specific
           information                                                                                                                                   $._ _ _ _ _ __

 49. Farm and fishing equipment, Implements, machinery, fixtures, and tools of trade
     W No
     CJ    Yes ..

                                                                                                                                                         $._ _ _ _ _ _ __

 so. Farm and fishing supplies, chemicals, and feed
     W No
     CJ Yes ...... .
                                                                                                                                                      $,_ _ _ _ _ __

 51. Any farm- and commercial fishing-related property you did not already list
    W   No
    Cl    Yes. Give specific
          information ......... .                                                                                                                     $._ _ _ _ _ __

 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                             0.00
     for Part 6. Write that number here ..                                                                  ......................       +           $
                                                                                                                                                      '-------


                Describe All Property You Own or Have an Interest In That You Did Not List Above

 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

    W No
                                                                                                                                                         $._ _ _ _ _ __
    Cl Yes. Give specific
          information ..                                                                                                                                 $

                                                                                                                                                         $


54. Add the dollar value of all of your entries from Part 7. Write that number here                                       ................. +            $               0.00



-,,..5          Ust the Totals of l!ach Part of this Form

55. Part 1: Total real estate, line 2                                                                                          ............. +       $,_ _1_2_9_:__,4_7_0._00_


56. Part 2: Total vehicles, line 5                                                  $._ _ _1_,9_a_o_,oo_

57.Part 3: Total personal and household items, line 15                              $._ _ _3_,_1_90_._oo_

se. Part 4: Total financial assets, line 36                                         $._ _ _2_,_2_20_._oo_

59. Part 5: Total business-related property, line 45                                $               0.00
                                                                                     '------
60. Part 6: Total farm- and fishing-related property, line 52                                       0.00
                                                                                    $
                                                                                     ·------
61. Part 7: Total other property not listed, line 54                                          0.00
                                                                                  +$' - - - - -  -

62. Total personal property. Add lines 56 through 61.                               $           7,39o.OO copy personal property total+ + $,_ _ _7_,_3_90_.00_



63. Total of all property on Schedule AIB. Add line 55 + line 62 ........ .                                                                          $,_ _1_3_6_.8_6_0_.oo_

                                                                                                                                                 1

 Official Form 106A/B                                                  SChedule AIB: Property                                                                    page 10
                  Case 17-31724               Doc 16             Filed 11/27/17 Entered 11/28/17 09:30:21                             Desc Main
                                                                  Document     Page 13 of 44

  Debtor 1         JoVana                        D                     zackowski
                    FntN11me                  Middle Name                  Last Ne.me

  Debtor 2
  (Spouse, if fifing) Arm Name                Mkldle Name                  Lasl Name


  United Slates Bankruptcy Court for the:Oistrict of Connecticut

                     17-31724 amn
                                                                                        B
 case number
  (If known)
                                                                                                                                             Cl Check if this is an
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using 111e property you listed on Schedule AIB: Property (Official Form 106A/B) as your source, list the property lhat you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each Item of propeny you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so Is to state a
specific dollar amount as exempL Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable - r y limit. Some exemptlon&-SUCh as those for health aids, rights to receive certain benefits, and tax-exempt
notil9"*1t funds---may be unHm- In dollar amounL However, II you claim an exemption of lOO'III of lelr market value under a law that
limits the exemption to a particular dollar amount and the value of the propeny is determined to exceed -    amount, your exemption
would be llm- to the -llceble statuto,y amount.


fffi              ld•allly- l'roporly You Claim as .,..mpt

 1. Which set of exemptions are you claiming? Check ooe only. even if your spouse is "1ing wilh you.
      Q      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      Ill    You are claiming federal exemptions. 11        u.s.c. § 522(b)(2)

 2. For any propeny you list on SchedUle A/B that you claim as exempt, fill In the information below.


       Brief description of the propeny and line on            Cunent value of the      Amount of the exemption you claim        Specific laws that allow exemption
       SChedule Ml that lists this propeny                     ponion you own
                                                               Copy the value from      Check only one box for each exempfjoo.
                                                               SChedulelVB

      Brief                                                    $129,470.00
      description:           Home                                                       Ch
      Line from
                                                                                        W 100% of fair market value,     up to
                             1.1                                                             any applicable statutory limit
      Schedule AIB:

      Brief
      description:
                             Chrysler 3Com                     $1,980.00                (J $
                                                                                        W 100% of fair market value, up to
      Line from     .3...L_                                                                  any applicable statutory limit
      Schedule AIB:

      Brief
      description:
                             tl.Qusehold   Furnishinc          $2,000.00                (J   $
      Line from
                                                                                        W 100% of fair market value, up to
                             £._                                                             any applicable statutory limit
      Schedule AIB:


 3. Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01119 and every 3 years after that for cases filed on or after the date of adjustment.)

      i!II   NO
       CJ    Yes, Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

             CJ    No
             CJ    Yes



Official Form 106C                                             schedule C: The Property You Claim as Exempt                                           page lof _
                  Case 17-31724                Doc 16       Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
    Debtor 1       JoVana                        D              Zackowski Page 14 of
                                                             Document                44
                                                                                   casenumberril'JmownJ17-31724 amn
•                                Middle Name




          Brief description ol lhe property and line    Current value of the   Amount of the exemption you claim       Specific laws that.,._ exemption
          on Schedule Ml -       lists this property    portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        SChedu/e AIB

         Brief
                          Household Electronic~         $ _ ____c5~0~0-~00~    1:1$ _ _ __
         description:
         Line from        7                                                    ~ 100% of fair market value, up to
         Schedule AIB:                                                           any applicable statutory limit

         Brief
         description:     Personal Clothes              $_ _ _=500=·=00~ Cl$ _ _ __
         Line from
                                                                               141 100% of fair market value, up to
                          11                                                      any applicable statutory limit
         SChedule AIB:

         Brief
         description:
                          Costume Jewelery              $
                                                         · - - - -50.00
                                                                   --          ....n$ -----
         Line from        12
                                                                               rm 100% of fair market value, up to
                                                                                  any applicable statutory limit
         Schedule AIB:

         Brief            7 cats                              1~_._00_
                                                        $~_ _ _                1:1$ _ _ __
         description:
                          13                                                   ~ 100% of fair market value, up to
         Line from
                                                                                 any applicable statutory limit
         SChedule AIB:
         Brief            Citizens Checking                       2,000.00     Q $ _ _ __
                                                        $
         description:
                                                                               ~ 100% of fair market value, up to
         line from        17.1                                                   any applicable statutory limit
         Schedule AIB:

         Brief            Citizens Savings                  20_0_._oo_
                                                        $____                  Cl$ _ _ __
         description:
                                                                               ~ 100% of fair market value, up to
         Line from        17.3                                                   any applicable statutory limit
         SChedule AIB:

          Brief                                          $ _ _ _ _ _ __        Cl$ _ _ __
          description:
                                                                               0 100% of fair market value, up to
         Line from                                                                any applicable statutory limit
         Schedule AIB:
          Brief                                          $,_ _ _ _ __          Cl$ _ _ __
          description:    ----~--· - - - - -
                                                                               CJ lOO'W.> of fair market value, upto
          Line from                                                                any applicable statutory limit
          Schedule AIB:

          Brief                                          $,_ _ _ _ _ __        Cl$ _ _ __
          description:
          Line from
                                                                               1:1 100% of fair market value, up to
                                                                                   any applicable statutory limit
          schedule AIB:

          Brief                                          $ _ _ _ _ _ __        1:1$ _ _ __
          description:
                                                                               0 100% of fair market value,    up to
          Line from                                                                any applicable statutory limit
          Schedule AIB:
          Brief                                          $ _ _ _ _ _ __         Cl$ _ _ __
          description:
                                                                                CJ 100% of fair market value, up to
          Line from                                                                any applicable statutory limit
          Schedule AIB:

          Brief                                          $ _ _ _ _ __           Cl$ _ _ __
          description:
                                                                                CJ 100% of fair market value, up to
          Line fmm                                                                 any applicable statutory limit
          schedule AIB:


    Official Fonn 106C                                  Schedule C: The Property You Claim as Exempt                                   page Lo!_
                      Case 17-31724                   Doc 16              Filed 11/27/17 Entered 11/28/17 09:30:21                                   Desc Main
                                                                           Document     Page 15 of 44

   Debtor!             JoVana                             D                         Zackowski
                         Flr&IName                                                   La.st Name

   Debtor 2
   (Spouse, if filing) F1rs1 N11111e                  Moddle Name                    Last Ne.me


  United States Bankruptcy court for the: District of Connecticut

                         17-31724 amn
                                                                                                    El
  Case number
  (llknownl
                                                                                                                                                         0   Check ff this is an
                                                                                                                                                             amended filing

  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
  Be as complete and accurate as possible. If lwo married people are filing together, both are equally responsible for supplying correct
  Information. If more space is needed, copy the Additional Page, fill It out, number the entries, and attach It to this form. On the top of any
  additional pages, write your name and case number (If known).

 1. Do any creditors have claims secured by your property?
       fa     No. Check this box and submit this form          to the court with your other schedules. You have nothing else to report an this form.
       Cl     Yes. Fill in all of lhe information below.


F&fM              List All Secured Clalms
                                                                                                                                Column A         Column B                  ColumnC
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amoum of claim
                                                                                                                                                 Value of collsteral       Unsecured
    tor each clatm. If more than one creditor has a particular claim, list the other creditors in Part 2.                                        that supports this
                                                                                                          Do not deduct lhe                                                portion
    As much as possible, list the claims in alphabetical order according to the creditor's name.          value of coUateral.                    clelm                     If any

                                                              Describe the property that secures the claim:                     $                $                     $
       Creditor's Name


       Number             Street

                                                              As of the date you file, the claim is: Check all that apply.
                                                              CJ    Contingent
                                                              CJ    Unllquidatecl
       c;iy                            State   ZIP Code       CJ    Disputed

   Who owes the debt? Check one.                              Nature of lien. Check all that apply.
   (J Debtor 1 only                                           Q     An agreement you made (such as mortgage or secured
   Q     Debtor 2 only                                              car loan)
   CJ    Debtor 1 and Debtor 2 only                           Q     Statutory lien (such as tax lien, mechanic's lien)
   Q     At least one of lhe debtors and another              a     Judgment lien from a lawsuit
                                                              CJ    Other (including a right to offset) _ _ _ _ _ _ __
   0 Check if this claim relates to a
         community debt
   Date debt was incurred _ _ _ __                            Last 4 digits of account number _ _ _ _
Llll                                                          Describe the property that secures the claim:                     $ _ _ _ _ _ __   $ _ _ _ _ _ $ _ _ __
       Creditor's Name


       Number            Street
                                                              As    of the date you file, the claim is: Check all that apply.
                                                              Q     Contingent
                                                              CJ    Unliquidated
                                       State   ZIP Code       0     Disputed
  Who owes the debt? Check one.                               Nature of lien. Check all that apply.
   D     Debtor 1 only                                        0     An agreement you made (such as mortgage or secured
   0     Debtor 2 only                                              car loan)
   Q     Debtor 1 and Debtor 2 only                           0     Statutory lien (such as tax lien, mechanic's lien)
   (J    At   least one of the debtors and another            0     Judgment lien from a lawsuit
                                                              CJ    Other (includlng a right to offset) ~ - - - - - - -
   Cl    Check tf this claim relates to a
         community debt
   Date debt was incurred _ _ _ _ _                           Last 4 digits of account number _ _ _ _

       Add the dolklr value of your entries in Column A on this page. Write that number here:                                   C~:::=====::J
 Official Form 106D                                  schedule D: Creditors Who Have Claims Secured by Property                                                page lot_
                Case 17-31724                    Doc 16         Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
Debtor 1        JoVana                           D               Document
                                                                    Zackowski Page 16 ofCase
                                                                                         44 number"""""'' 17-31724 amn
                  F1r91 Name     MkldleNarne         Las1Name




              AddHlonal Page                                                                                        Column A               Columns                   Co/umnC
                                                                                                                    Amount of claim        Value of collateral       Unsecured
              After listing any entries on this page, number them beginning with 2.3, followed                                             that suppons this         portion
                                                                                                                    Do not deduct the
              by 2.<1, and so fonh.                                                                                 value of collateral.   claim                     If any

                                                     Describe the property that secures the claim:                  $                      $                     $
     Creditor's Name


     Number            Street


                                                     As of the date you file, the claim is: Check all that apply.
                                                     Cl   contingent
     City                        State    ZIP Code   Q    Unliquidaled
                                                     Q    Disputed

 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
 Q     Debtor 1 only                                 Cl   An agreement you made (such as mortgage or secured
 Q     Debtor 2 only                                      car loan)
 Q     Debtor 1 and Debtor 2 only                    Q    Statutory lien (sudl as tax lien, mechanic's lien)
 Q     At least one of the debtors and another       CJ   Judgment lien from a lawsuit
                                                     CJ   Other (including a right to offset) _ _ _ _ _ _ __
 Cl    Check if this claim relates to a
       community debt

 Date debt was incurred _ _ _ __                     Last 4 digits of account number _ _ _ _

D _ _ __                                             Describe the property that secures the claim:                  $ _ _ _ _ _ __         $_ _ _ _ _ _ $ ~ - - - -
     Creditor's Name


     Number            Street

                                                     As of the date you file, the claim is: Check all that apply.
                                                     Cl   Contingent
                                                     Cl   Unliquidated
                                 State    ZIP Gode
                                                     D    Disputed
 Who owes the debt? Check one.
                                                     Nature of Hen. Check all that apply.
 Q     Debtor 1 only
                                                     [J An aiJreement you made (sudl       as mortgage or secured
 0     Oebtor 2 only                                      car loan)
 CJ    Debtor 1 and Debtor 2 only                    D    Statutory lien (such as tax lien, mechanic's Hen)
 [J At least one of the debtors and another          D    Judgment lien from a lawsuit
                                                     Q    Other (including a right to offset) _ _ _ _ _ _ __
 [J Check ff this claim relates to a
       community debt

 Date debt was incurred                              Last 4 digits of account number _ _ _ _


D _ _ _ __
     Creditor's Name
                                                     Describe the property that secures the claim:
                                                                                                                    $._ _ _ _ _ __         $ _ _ _ _ _ _ $ _ _ __




     Number            suee,

                                                     As of the date you file, the claim is: Check all 1hat apply.
                                                     0    Contingent
     City                        State    ZIP Code   Cl   Unliquklated
                                                     [J   Disputed

 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
 0     Debtor 1 only                                 0    An agreement you made (such as mortgage or secured
 Q     Debtor 2 only                                      car loan}
 CJ    Debtor 1 and Debtor 2 only                    0    Statutory Hen (such as tax lien, mechanic's lien)

 0     At least one of the debtors and another       0    Judgment lien from a lawsuit
                                                     [J   Other (including a right to offset) _ _ _ _ _ _ __
 Q Check if this claim relates to a
        community debt
 Date debt was incurred _ _ _ _ __                   Last 4 digits of account number _ _ _ _

            Add the dollar value of your entries In Column A on this page. Write that number here:                  ~$c;cc======.
            II this Is the last page of your form, add the dollar value totals from all pages.
            Write that number here:
                                                                                                                    c
                                                                                                                    t:l!======I
Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page_of_
                Case 17-31724             Doc 16            Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main
Debl:or 1       JoVana                     D                 Document
                                                                Zackowski Page 17 ofCase
                                                                                     44number,,,_, 17-31724 amn
                 First Name


FMfd             Uat Othen to Be Notified for a Dabt That You AJ....,dy Llated

  use this page only if you have others to be notified aboUt your bankruptcy- for a debt that you already fisted in Part 1. For example, if a collection
  agency- ls trying to collect from you for a debt you owe to someone else, lfst the creditor in Part 1, and then list the collection agency- here. Similarly, if
  ~u have more than one creditor for any of the debts that you listed in Pan 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

D      Name
                                                                                            On which line in Pan 1 did you enter the creditor? _ _
                                                                                            Last 4 digits of account number _ _ _ _


       Number         Street




       City                                         State          ZIP Code


D      Name
                                                                                            On which line in Pan 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _


       Number         Street




       City                                        State           ZIP Code



D      Nac-me-------------------------
       7
                                                                                           On which line in Part 1 did you enter the creditor? _ _
                                                                                            Last 4 digits of account number _ _ _ _


       Number         Street




       City                                         State          ZIP Code



D      Name
                                                                                            On which line in Part 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _


       Number         Street




       City                                         State           ZIP Code


DCC--__________
       Name
                                                                                            On which line In Pan 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _


       Number         street




       City                                         State           ZIP Code


D _ _ _ _ _ __                                                                              On which line in Part 1 did you enter the creditor? _ _

                                                                                            Last 4 digits of account number _ _ _ _
        Name


        Number         Street




        City                                        State           ZIP Code



Official Form 106D                         Part 2 of schedule D: Creditors Who Have Claims secured by Property                                 page_of_
                     Case 17-31724                  Doc 16        Filed 11/27/17 Entered 11/28/17 09:30:21                                  Desc Main
                                                                   Document     Page 18 of 44
     Debtor 1          JoVana                         D                    Zackowski
                                                    Middle Name                LIUltN11111e

 lleblor 2
 (Spouse, if filing)   First NM1&                   MlddktName


 United       States Bankruptcy Court for the: District of Connecticut
                       17-31724 amn
                                                                                              El                                                 Q   Check ff this is an
 Case number
     (lfb10Wl1)                                                                                                                                      amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as po51lble. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the Other pany to any executory contracts or unexpired leases that could result in a claim. Also list exacutory contracts on Sdledule
A/8: Property (Official Form 106A/B) and on Schedule G: Exacutory ContraCIS and unexpired Leases (Official Form 106G), Do not Include any
credltors wtth partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill It out, number the entries In the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your neme and case number (If known).

ff fE              Llat All of Your PRIORITY Unsecured Clalma

L Do any creditors have priority unsecured claims against you?
       Iii No, Goto Part 2.
       aves.
2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each ciaim. For
      each claim listed, identify what type of claim it is. II a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriorlty amounts. As much as possible, list the claims in alphabetical order according to the creditor"s name. If you have more than two priority
      unsecured claims, fiU out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Pan 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)



                                                                    La.st4 digits of account number _

                                                                    When was the debt incurred?
                                                                                                              _    _    _
                                                                                                                           Total claim      Pmmty
                                                                                                                                               amount
                                                                                                                                                            -
                                                                                                                                                         Nonpriortty


                                                                                                                                   $,_ _ _ _ _ $._ _ _ _ $._ _ __



         Number

                                                                    As of the date you file, the claim Is: Check all thal apply.

                                            State    ZIP Code
                                                                    CJ    Contlngert
                                                                    ill   Unliquidated
         Who Incurred the debt? Check one.                          0     Disputed
         Cl Debtor 1 only
         Cl Debtor 2 only                                           Type of PRIORITY unsecured cleim:
         fJ Debtor 1 and Debtor 2 only                              a     Domestic support obligations
         0 AC least one of the debtors and another                  CJ            certain oth8f debts you owe the government
                                                                          Taxes and
         Cl   Check H tllls claim Is for a community debt           [J Claims for death or personal injury while you were
         Is the claim subject to offset?                                  inWxicated
                                                                    D     Other. Specify _ _ _ _ _ _ _ _ _ _ __
         CJ   No
         CJ   Yes

El----------
         Priority Creditor's Name
                                                                    Last4digitsofaccountnumber _ _ _ _

                                                                    When was the debt incurred?
                                                                                                                                   $._ _ _ _ _ $ _ _ _ _ $ _ _ __



         Number           Stteet
                                                                    As of the date you file, the claim is: Check all that apply

                                                                    [J    Contingent
                                                     ZIP Code       CJ    Unliquidated
         Who incurred the debt? Check one.                          a     Disputed
         CJ   Debtor 1 only
                                                                    Type of PRIORITY unsecured claim:
         0     Debtor 2 only
                                                                    CJ Domestic support obligations
         0     Debtor 1 and Debtor 2 only
                                                                    CJ Taxes and certain other debts yau owe the government
         fJ    At least one of the debtors and another
                                                                    CJ Claims tor death or personal Injury while you were
         0     Check H tllls clalm Is for a community debt                intoxicated
         Is the clalm subject to offset?
                                                                    Q     Other. Specify _ _ _ _ _ _ _ _ _ __

          ClNo
         0     Yes


Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsacured Claims                                        page 101_
Debtorl            Case 17-31724
                  JoVana
                                 Mlddl& Name
                                                  Doc
                                                  D
                                                       =-
                                                      16         Filed 11/27/17 Entered Case
                                                                     Zackowski
                                                                  Document
                   Your PRIORITY UnncurN Claims - Continuation Page
                                                                                        11/28/17
                                                                               Page 19 of 44
                                                                                                         09:30:21
                                                                                             number {,fl<oown) 17-31724 Desc
                                                                                                                        amn Main



Altar listing any entries on this page, number them beginning with 2.3, folloWed by 2.4, and so forth,                                         PrlOrtty
                                                                                                                                               amount


D                                                                  Last 4 digits of account number _ _ _ _                         $,_ _ _ _ $ ~ - - - $._ _ __
     Priority Creditor's Name


     Number           .....                                        When was the debt tncurred?

                                                                   As of the date you file, the claim is: Check all that apply.

                                                                   0     Contingertt
                                          State   ZIP Code         CJ    Unliquidated
                                                                   0     Disputed
     Who incurred the debt? Check one.
     0 Debtor 1 only                                               Type of PRIORITY unsecured claim:
     0 Debtor 2 only                                               a     Domestic support obligations
     0 Debtor 1 and Debtor 2 only                                  CJ    Taxes and certain other debts you owe the government
     Cl At least one of the debtors and another                    1J    Claims for death or personal injt.JrY while you were
                                                                         intoxicated
     0      Check H this claim Is for a community dabt             CJ    Other. Specify _ _ _ _ _ _ _ _ _ __

     Is the claim subject to offset?
     0No
     0      Yes

D                                                                  Last 4 digits of account number _ _ _ _                         $._ _ _ _ _ $ ~ - - - $._ _ _ __
     PriOrtty CredltOf's Name
                                                                   When was the debt incurred?
     Number           Street

                                                                   As ol the date you file, the claim Is: Check all that apply.

                                                                   CJ    Contingent
     City                                 State   ZIP Code         CJ    Unllquioaled
                                                                   0     Disputed
     Who incurred the debt? Check one.
     0       Debtot 1 only                                         Type of PRIORITY unsecured claim:
     CJ      Debtor 2 only                                         CJ    Domestic support obligations
     CJ      Debtor 1 and Debtor 2 only                            CJ    Taxes and certain other debts you owe the government
     D      At least one of the debtors and another                CJ    Claims tor death or persooal injury while you were
                                                                         Intoxicated
     CJ      Check H this claim is for a community debt             CJ   other. Specify _ _ _ _ _ _ _ _ _ _ __

     Is the claim subject to offset?
     CJ      No
     Q       Yes

D     Priority Creditor's Name
                                                                   la.It 4 digits of account number _ _ _ _
                                                                                                                                   $._ _ _ _ _ $,_ _ __   $._ _ _ __



                                                                   When was the debt incurred?
      Number           S..et
                                                                    As of the dale you file, the claim is, Check all lhal apply.

                                                                    CJ   Contingent
      City                                         ZIPCOOe          CJ   Unliquldated
                                                                    0     Disputed
      Who incurred the debt? Check one.
      0      Debtor 1 only                                          Type of PRIORITY unsecured claim:
      CJ     Debtor 2 only                                          a     Domestic support obllgations
      (J Debtor 1 and Debtor 2 only                                 CJ    Taxes and certain other debts yau owe the govemment
      CJ     At least one of the debtors and another                CJ    Claims for dealh or personal injury while you were
                                                                          intoxicated
      0      Check H this claim Is tor a community debt             0     Other. Specily _ _ _ _ _ _ _ _ _ __

      Is the clalm subject to offset?
      0       No
       CJ     Yes


                                                             schedule E/F: Creditors Who Have Unsecured Claims                                            page_of_
Official Fann 1oeE/F
Debtnr 1



iii&
                    JoVana
                     Case 17-31724
                                      --           D
                                                   Doc 16              Zackowski
                                                                   Filed 11/27/17 Entered Case
                                                           ""'"""" Document Page 20 of 44
                   List All of Your NONPRIORITY Unucur.d Clalma
                                                                                          11/28/17   09:30:21
                                                                                               number,,._ 17-31724 Desc
                                                                                                                   amn Main



3. Do any creditors have nonprlority unsecured claims against you?
     D No. You have nothing to report In this part. Submit this form to the court with your other schedules.
     !ill Yes
4.   Ust all ol your nonpriority unsecured claims in the alph-tlcal order of the creditor who holds esch claim. rt a creditor has more than one
     nonpriority unsecured claim. list the creditor separately for each claim. For each claim listed, identify what type of claim k Is. Do not list claims 10ready
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim

~     Connecticut Light and Power                                                    Last 4 digits of account number _ _ _ _
                                                                                                                                                                        22,866.45
                                                                                                                                                               $
       Nonprlority Creditor's Name                                                                                                                                 -----'----
                                                                                     When was the debt Incurred?              04/24/2014
      PO Box270
       Number           Street
       Hartford                                         CT            06141
                                                        State        ZIP Code        As of the date you ftle, the claim Is: Check all thal apply.

                                                                                     Cl    Contingent
       Who Incurred the debt?         Check one.                                     [J    Unliquidaled
       ill    Debtor 1 only                                                           CJ   Disputed
       CJ     Debtor 2 only
       CJ     Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY uneecured claim:
       Q      At least one of the debtors and another                                 CJ   Student loans
                                                                                      [J Obligations arising out of a separation agreement or diWfce
       [J Check if this claim is for a community debt                                      that you did not report as priority claims
       Is the claim subject to offset?                                                [J   Debts to pension or profit-sharing plans, and other similar debts
       ill    No                                                                      ~ Other.    Specify_:J-oU,ed,_g;,:e,.,_m,..,e"'n"-t_ _ _ _ _ _ __
       CJ     Yes

E] _____________                                                                      Last 4 digits of account number _ _ _ _
                                                                                                                                                               $,_ _ _ _ _ __

       NonptiOfity Creditor's Name                                                   When was the debt incurred?



                                                                                      As of the date you file, the claim is: Check all that apply.
                                                                     ZIP Code
       Clly                                                                           Q    Contingent

       Who Incurred the debt? Check one.                                              CJ   Unltquidated
                                                                                      Cl   Disputed
       CJ Debtor 1 only
       CJ Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
       CJ     Debtor 1 and Debtor 2 only
       [J     At least one of the debtors and another                                 CJ   Student loans
                                                                                      CJ   Obligations arising out of a separation agreement or divorce
       a Check if this claim is for a community debt                                       that you did not report as priority claims

       11 Iha clalm subject to offset?
                                                                                      a    Debts to pension or profit-sharing plans, and other similar debts
                                                                                      CJ   Dlher. Specify ______________
       CJ     No
       CJ     Yes


EJ     Nonpl'lority Creditor's Name
                                                                                      Last 4 digits of account number _ _ _ _
                                                                                      When was the debt incurred?
                                                                                                                                                               $ _ _ _ _ __




                                                                                      As of the date you file, the claim is: Check all that apply.
                                                        State         ZIP Code
                                                                                      a    Contingent
       Who Incurred the debt? Check one.                                              D    Unliquidated
        CJ    Debtor 1 only                                                           CJ   Disputed
        CJ    Debtor 2 only
        f.J   Debtof 1 and Debtor 2 only                                              Type ol NONPRIORITY uneecured claim:
        D     At least one of the debtorS and another
                                                                                      [J Student loans
        D      Check tf this claim II for a community debt                            (J Obligations arising out of a separation agreement or divolce
                                                                                           that you did not report as priority claims
        Is the claim aub)ect to offset?                                               Cl   Debts to pension or profit-sharing plans, and other similar debts
        CJ     No                                                                     CJ   Other.   Specify ______________
        CJ     Yes



                                                                Schedule E/F: Creditors Who Have Unsecured Claims                                                        page_of_
Official Fonn 106E/F
Deblof 1           Case 17-31724
                  Jovana                        Doc
                                                D 16               Filed 11/27/17 Entered case
                                                                       zackowski          11/28/17    09:30:21
                                                                                               number,,._, 17-31724 Desc
                                                                                                                    amn Main
                                                                    Document     Page 21 of 44
                 Your NONPRIORITY UnHCul9d Clalma - Continuation P -


After listing any entrtes on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                           Totalclllm


D    Nonpriortty Creditor's Name
                                                                                     Last 4 digits of account number _ _ _ _                                     $ _ _ __


                                                                                     When was the debt incurred?

     Number           Street
                                                                                      As of the date you file, the claim is: Check all that apply.

     City                                             State        ZIPCOde            [J    Contingent
                                                                                     Cl     Unllquldated
     Who      Incurred the debt? Check one.                                          CJ     Disputed
     Cl     Deblor 1 only
     Cl     Deblor 2 only                                                            Type of NONPRIORITY unsecured claim:
     Q      Debtor 1 and Debtof 2 only                                               lJ     Student loans
     CJ     At least one of the debtors and another                                   [J    Obligations arising out of a separation agreement or diwrce that
                                                                                            you did not report as priority claims
     Cl     Check H this claim Is for a community debt                               Q      Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                  Cl    01her. Specify-_ _ _ _ _ _ _ _ _ _ __

     CJ     No
     Cl     Yes



D                                                                                     Last 4 digits of account number _ _ _ _                                    $._ _ __

     Nonpriorily Cn!dltot's Name
                                                                                      When was the debt incurred?

     Numbe<
                                                                                      As of the date you file, the claim Is: Check all that apply.

     City                                                          ZIP Code           Cl    Contingent
                                                                                      Cl    Unllqufdated
     Who Incurred the debt? Check one.                                                Cl    Dlspuled
     Cl     Debklf 1 only
      Cl    DeblOf 2 only                                                             Type of NONPRIORITY unsecured claim:
      Cl    Debtor 1 and Debtor 2 only                                                Q     Student loans
     [J At least one of the debtors and another                                       CJ    Obligations arising out of a separation agreement or divorce Chat
                                                                                            you did oot report as priority claims
      Cl    Check H 111"1 claim Is for a community debt                               Q     Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                  CJ    Olher. Specify•_ _ _ _ _ _ _ _ _ _ __

      CJ    No
      CJ    Yes


D                                                                                     Last 4 digits of account number _ _ _ _
                                                                                                                                                                 $ _ _ _ __



      Nonpnorlty Creditor's Name
                                                                                      When was the debt incurred?

      Numtte,-        Street                                                          As of the date you file, the claim Is: Check all that apply.

                                                      State         ZIP Code          Q     Contingent
                                                                                      Cl    Unliquklated
      Who Incurred the debt? Check one.                                               Q      Disputed
      Cl    DeblOr 1 only
      Cl     Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
      Cl DeblOr 1 and Deblor 2 only                                                   CJ     Student loans
      Cl    At least one of the debtors and another                                   CJ     Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      CJ     Check If this claim Is for a community debt                              CJ     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
                                                                                       CJ    Olher. Specify_ _ _ _ _ _ _ _ _ __

       CJ    NO
       CJ    Yes




                                                              schedule E/F: Creditors Who Have unsecured Claims                                                   page_of_
Official Form 106E/F
•
    Debtor 1
         •
                  JoVana
                   Case 17-31724
                   RrstNllllle



                Adel -
                                                D
                                                Doc 16
                                                      --        Filed 11/27/17 Entered Case
                                                                    Zackowski
                                                                 Document
                                 Amount• for l!ach Type of Unsecured Clalm
                                                                                        11/28/17
                                                                              Page 22 of 44
                                                                                                  09:30:21
                                                                                            numberc,-.1 17-31724 Desc
                                                                                                                 amn Main




    &.   Total the amounts of certain types of unsecured claims. This Information Is for stallstlcel reporting purposes only. 28 u.s.c. § 159.
         Add the amounts for each type of unsecured claim.




                                                                                           Total claim


                    6a. Domestic support obligations                                6a.
                                                                                           $
                                                                                                               0.00
    Total claims
    from Part 1
                    6b. Taxes and certain other debts you owe the
                        government                                                  6b.    $                   0.00
                    Sc. Claims for death or personal injury while you were
                          Intoxicated                                               6c.
                                                                                           $
                                                                                                               0.00
                    6d. Other. Add all other priority unsecured claims.
                        Write that amount here.                                     6d.   +$                   o.oo

                    Se. Total. Add lines 6a through 6d.                             Se.
                                                                                           $
                                                                                                               0.00


                                                                                           Total claim


                 61. Student loans                                                  61.                        0.00
    Total claims                                                                            $
    from Part2 6g. Obligations arising out of a separation agreement
                     or divorce that you did not report as priority                                            0.00
                     claims                                                         6g.     $

                    6h. Debts to pension or profit~sharing plans, and other
                        similar debts                                               6h.    $
                                                                                                               0.00

                     6i. Other. Add all other nonpriority unsecured claims.
                         Write that amount here.                                    6i.   +$
                                                                                                         22,866.45


                     6j. Total. Add lines Sf through Si.                            6j.                  22,866.45
                                                                                            $




    Official Form 106E/F                                   Schedule EIF: Creditors Who Have Unsecured Claims                                 page_of_
               Case 17-31724               Doc 16               Filed 11/27/17 Entered 11/28/17 09:30:21                         Desc Main
                                                                 Document     Page 23 of 44

 Debtor

 Debeor 2
 (Spouse If firng)
                     --
                     JoVana


                     ~ Name
                                            ·--- D
                                                                      ... ....,.
                                                                    Zackowski



 United states Bankruptcy Court for the: District of Connecticut
                                                                                   G
 Case number         17-31724 amn
  (If known)                                                                                                                             0   Check ff this is an
                                                                                                                                             amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, bolh are equelly responsible for supplying correct
informetion. If more space Is n - , copy lhe additional pege, fill it out, number lhe entries, and attach it to lhls pege. On lhe top of any
additional peges, write your name and case number (If known).

 1. Do you have any executory contracts or unexpired leases?
      Iii   No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      (J Yes. Fill In all of the informatioo below even if the contracts or leases are listed on Schedule AIB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease Is for (for
    example, rent. vehicle lease, cell phone). See the instructions for this form in the instruction booklet tor more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have lhe contract or lease                               State what lhe contract or lease Is for


2.1
      Name


      Number          street

      City                              State        ZIP Code

2.2
      Name


      Number          Street


      City                              State        ZIP Code

2.3
      Name


      Number           Street


      City                              State        ZIP Ccxte

2.4
      Name


      Number           Street


      Chy                               State        ZIP Code

2.5
       Name

       Number          Stteet


       Chy                               State       ZIP Code


Official Form 106G                               schedule G: Executory Contracts and unexpired Leases                                          pagelof_
                     Case 17-31724         Doc 16               Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main


   1111
       Debt&r 1        JoVana
                        First Name

                                     --          D               Document
                                                                     Zackowski Page 24 of 44


                       Adtlltlonal Page If You Have MoN Contracts or Leases
                                                                                          case number ,,_,,17-31724 amn



              Person or company with whom you have the contract or lease
                                                                                         What the contract or lease is for


              Name


              Number        Street

              City                       State        ZIP Code

   2._

             Name

             Number         Street


             City                       State         ZIP Code

   2.
        -
             Name


             Number        Street


             City                       State        ZIP Code

  2.-
            Name


            Number         SOeet


            City                        State        ZIP Code

  2._
            Name


            Number        soeet


            City                        State        ZIP Code

  2.
       -
            Name


            Number        Street


            City                       State         ZIP Code

  2.
            Name

            Number        Street


            City                       State         ZIP Code

  2.-
            Nome

            Number       Street

            City                       State         ZIP Code



Official Fonn 106G                             schedule G: Executory Contracts and Unexpired Leases                          page_of_
                 Case 17-31724                     Doc 16                Filed 11/27/17 Entered 11/28/17 09:30:21                 Desc Main
                                                                          Document     Page 25 of 44

 DeblOr 1           JoVana                               D                   Zackowski

 Debtor 2
                       FlrS!Name                      MilidleN11me
                                                                                 .... """"
 (Spouse, if filing) FIIW Name                                                   Last Name


 United States Bankruptcy Court tor the: District of COnnecticut
                                                                                             B
 ease number 17-31724 amn
  (It known)
                                                                                                                                            0   Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                12/15
Codebtors are people or entitles who are also Hable for any debts you may have. Be as complete and accurate as possible, If two married people
ara filing together, both are equally responsible for supplying correct Information. If more space Is needed, copy the Additional Paga, 1111 it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (If known). Answer every question.

 1. Do you have any codebtors7 (If you are filing a joint case, do not list either spouse as a codebtor.)
      ill   No
     1J     Yes
 2. Within the last 8 years, have you lived In a community property state or territory? (Community property states and territories include
     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     ell    No. Go to line 3.
     CJ     Yes. Did your spouse, former spouse, or legal equivalent llve with you at the time?
            1J    No
            [J Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _. Fill in the name and current address of that person.


                  Name of your spouse, k:lrmer spouse, or legal equivalent



                  Number             Street



                  Qty                                            State                       ZIP Cede


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 1060), schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use SChedule o,
     Schedule E/F, or schedule G to fill out Column 2.

       Co/Umn 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:

~       Name
                                                                                                          a   Schedule 0, line
                                                                                                          a   Schedule E/F, line ___
        Number              Street                                                                        a   Schedule G, line ___

        City                                                         Stale                    ZIP Code

§]                                                                                                        a   Schedule D, line ___
        Nam•
                                                                                                          a   Schedule EIF, line ___
        Number              Street                                                                        a   Schedule G, line ___

        Clly                                                         State                    ZIP Code


~       Name
                                                                                                          a   Schedule D, line ___
                                                                                                          a   Schedule E/F, hne
        Number              Street                                                                        a   Schedule G, line ___

        Qty                                                          Sta1'                    ZIP Gode



Official Form 106H                                                           schedule H: Your Codebtors                                          page 1 of_
                   Case 17-31724         Doc 16       Filed 11/27/17 Entered 11/28/17 09:30:21 Desc Main


•
    0e\itor1



    -
                   JoVana
                   R1stN11me

                                 ---      b
                                               -·-
                                                       Document
                                                          Zackowski


                   Aclclltlonal Page to List More Codebtors
                                                                    Page 26 ofcase
                                                                               44number (H*11DWll> 17.31724 amn



         Column 1: Your codebtor                                                       Column 2: The creditor to whom you owe the debt

                                                                                       Check all schedules that apply:
    [g
          Name
                                                                                       a   Schedule D, line _ _ _
                                                                                       a   Schedule E/F, line ___
          Number        Street                                                         a   Schedule G, line ___


          City                                    Slot•                   ZIP Code


    eJ    Nome
                                                                                       a   Schedule D, line ___
                                                                                       a
          Number        ....,                                                          a
                                                                                           Schedule E/F, lme
                                                                                           Schedule G, line _ _ _


          City                                    State                   ZIP Code


    eJ    Name
                                                                                       a
                                                                                       a
                                                                                           Schedule D, line ___
                                                                                           Schedule E/F, line ___
          Number        .....                                                          Q Schedule G, line ___


          Cify                                    Stet•                   ZIP COde


    E]    Name
                                                                                       a   Schedule D, line ___
                                                                                       Q Schedule E/F, lme
          Number        Street                                                         a   Schedule G, line ___


          City                                    State                   ZIP COde

    []                                                                                 Q Schedule D, line _ _ _
          Nome
                                                                                       a   Schedule E/F, line ___
          Number        sooe,                                                          Q Schedule G, line ___


          Qfy                                     Steto                   ZIP Code


    EJ    Name
                                                                                       Q Schedule D, line ___
                                                                                       Q Schedule E/F, line ___
          Number        Street
                                                                                       Q Schedule G, line ___


          City                                    State                   ZIP Code


    EJ    Norn,
                                                                                       a   Schedule D, line ___
                                                                                       Q Schedule E/F, line ___
          Number        Street                                                         a   Schedule G, line ___


          Qfy                                     Stet<                   ZIP COde

    El
          NM>O
                                                                                       a   Schedule D, line ___
                                                                                       a   Schedule EIF, line ___

          Number        ....,                                                          a   Schedule G, line _ _


          City                                    State                   ZIP Code




Official Form 1OSH                                        Schedule H: Your Codebtors                                     page_ of
                                                                                                                                    -
               Case 17-31724               Doc 16          Filed 11/27/17 Entered 11/28/17 09:30:21                                          Desc Main
                                                            Document     Page 27 of 44


 Debtor 1         JoVana                      D                    Zackowski
                                            Mkldle Name              Last Name

 Debtor 2
 (Spouse, if ftNng) R,a Name                Middle Name              l.8$lNeme


 United States Bankruptcy Court for the: District of Connecticut
                   17-31724 amn
                                                                                   El
 case number                                                                                                  Check if this is:
  (II known)
                                                                                                              0     An amended filing
                                                                                                              0     A supplement showing postpetition chapter 13
                                                                                                                    income as of the following date:
Official Form 1061                                                                                                  MM/ DD/ VYYY

Schedule I: Your Income                                                                                                                                           12/15
Be as complece and accurate as possible. H two metried people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct Information. If you are metried and not filing jointly, and your spouse Is living wkh you, Include information about your spouse.
rt you are nparated and your spouse is not filing with you, do not Include Information about your spouse. ff more space Is needed, attach a
separate sheet to this form. On the top of any addklonal pages, write your name and case number (if known). Answer every question.


fMfi             -rlbe l!mployment

1. FIii in your employment
                                                                          Debtor 1                                                 Debtor 2 or non-filing spouse
   Information.
   If you have more than one job,
                                                                      ----"··---·······-···. ·······-·-·---                                     -···------------
   attach a separate page with
   information about additional          Employment status              CJ Employed                                                CJ   Employed
   employers.                                                           WNot employed                                              CJ   Not employed
   Include part.time, seasonal, or
   sett-employed work.
                                         Occupation
   Occupation may inciude student
   or homemaker, if it applies.
                                         Employefs name


                                         Employer's address
                                                                       Number    Street                                          Number    Street




                                                                       City               State     ZIP Code                     City                  State   ZIP Code

                                         How long employed there?



IMF             Give Det•II• About Monthly Income

   Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your nan.filing
   spouse unless you are separated.
   If you or your nan.filing spouse have more than one employer, combine the information tor all employers for that person on the lines
   below. If you need more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1               For Debtor 2 or
                                                                                                                                 no~~!l~ing -~p~use
                                                                                                  -··--··~·.,- ---·---·' ····-
 2. List monthly gross wages, salary, and commissions (before all payroll
    deduetions). If not paid monthly, calculate what the monthly wage would be.           2.
                                                                                                  $               o.oo              $

 3. Estimate and list monthly overtime pey.                                               3.   +$                 0.00           + $


 4. Calculate gross income. Add line 2 + line 3.                                          4,      $               o.oo       I      $




Official Form 1061                                                 Schedule I: Your Income                                                                     page 1
       '          Case 17-31724            Doc 16                Filed 11/27/17 Entered 11/28/17 09:30:21                                         Desc Main
                                                                  Document     Page 28 of 44
;Debtor 1         JoVana                    D
                                                   l..a,;!Name
                                                                     Zackowski                                 Case number    c,,_,--------'--'--'-"-'----------
                                                                                                                                   17-31724 amn

                                                                                                           For Debtor 1                For Debtor 2 or
                                                                                                                                   .~!!!lctf!il!II. SI!!!~!!!...
    Copy line 4 here ...............                                      .................... -+ 4.       $             0.00            $

 5. list all payroll deductions:

     Sa. Tax, Medicare, and Social Security deductions                                          5a.        $            0.00             $
     Sb. Mandatory contributions for retirement plans                                           Sb.        $            O.QO             $
     Sc. Voluntary contributions for retirement plans                                           5c.        $            0.00             $
     Sd. Required repayments of retirement fund loans                                           Sd.        $            0.00            $
     Se. Insurance                                                                              5e.        $            0.00             $
     Sf. Domestic support obligations                                                           Sf.        $            0.00            $
     5g. Union dues                                                                             Sg.        $            0.00            $
     5h. other deductions. Specify:                                                             Sh. +$                   0.00      + $
 6. Add the payroll deductions. Add lines Sa+ Sb+ Sc+ 5d + 5e +5f + Sg + Sh.                     6.        $            0.00            $

 7. calculate total monthly take-home pay. Subtract line 6 from line 4.                          7.        $            0.00            $

 8. List all other income regularly received:
     8a. Net Income from rental property and from operating a business,
         profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                           $._ _ _ __
                                                                                                           $._ _ _0=·~00~
            monthly net income.                                                                 Ba.

                                                                                                               - - - 0.00
     Bb. Interest and dividends                                                                 Bb.                                     $._ _ _ _ __
                                                                                                           $
                                                                                                                     --
     Be. Family support payments that you, a non.filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                       0.00
                                                                                                           $                            $
            settlemenJ, and property settlement.                                                Be.
    Bd. unemployment compensation                                                              Bd.         $            0.00            $
    Be. Social Security                                                                        Be.         $     ,1,!;16/;i.9/;i        $
     Bf. Other government assistance that you regularly receive
         lnciude cash assistance and the value (If known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the SupplementaJ
            Nutrition Assistance Program) or housing subsKties.
            Specify:                                                                           Bf.         $            0.00            $

     Sg. Pension or retirement income                                                          Bg.         $        257.90              $

     Bh. other monthly Income. Specify:                                                        Bh. +$                   0.00           +$

 9. Add all other income. Add lines Ba+ Sb+ 8c + Sd + Se + Bf +Sg + Sh.                         9      I   $     3,223.851              $
                                                                                                                                                                   I
                                                                                                1° I $
10. calculate monthly Income. Add line 7 + line 9.                                                                                                                            3,223.85
                                                                                                                 3.223.85!+             $
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
                                                                                                                                   1                               I= E
11. State all other regular contributions to the expenses that you 11st in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not inciude any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

    Specify:-------------------------------                                                                                                                 11. +      $._ _ _ _0_._0_0

12. Add the amount In the last column of line 10 to the amount In line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.        ~     3,223.85
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly Income
 13. Do you expect an increase or decrease within the year after you file this form?
     f!II   No.
     [J Yes. Explain:


Official Form 1061                                                   Schedule I: Your Income                                                                               page2
                         Case 17-31724              Doc 16           Filed 11/27/17 Entered 11/28/17 09:30:21                                   Desc Main
                                                                      Document     Page 29 of 44


         Debtor l           JoVana                       D                   Zackowski
                                                                                                                    Check if this is:
         Debtor 2
         (Spouse, if filing) R's!: Nlmllt                                        LIISI N&lflfl
                                                                                                                    D An amended filing
                                                                                                                    D A supplement showing postpetition chapter 13
         United States Bankruptcy Court for the: District of Connecticut
                                                                                                   B                    expenses as of the following date:
         Case number          17-31724 amn                                                                              MM/ 00/ YYYY
         (II known)




    Official Form 106J
    Schedule J: Your Expenses                                                                                                                                        12/15

    Be as complete and accurate as possible. If 1WO married people are filing together, both are equally responsible for supplying correct
    Information. If more space Is needed, attach another sheet to this form. On the top of any additional - · write your name and c:ase numbe<
    (If known). Answer every question.

-                           -rtbeYourHou..,,.,ld

1. Is this          a joint case?
          1!11 No. Go to line 2.
          Q Yes. Does Debtor 2 live In a separate household?
                       Q     No
                       0     Yes. Debtor 2 must file Official Form 106J~2, Expenses tor Separate Household of Debtor 2.

2. Do          you have dependents?                 (ll No                                       Dependent's relationship to              Dependent's   Does dependent live
          Do not list Debtor 1 and                  D    Yes. Fill out this information tor      Debtor 1 or Debtor 2                     age           wtth you?
          Debtor 2.                                      each dependent
                                                                                                                                                        Q    No
          Do not state the dependents'
          names.
                                                                                                                                                        Q    Yes

                                                                                                                                                        Q    No
                                                                                                                                                        Q    Yes

                                                                                                                                                        Q    No
                                                                                                                                                        Q    Yes

                                                                                                                                                        Q    No
                                                                                                                                                        D    Yes

                                                                                                                                                        Q    No
                                                                                                                                                        Q    Yes

    3.    Do your expenses include
          expenses of people other than
                                                    al   No
          yourself and your dependents?             Q    Yes



1ifM                    l!stlmate Your Ongoing Monthly l!xpensas
    Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supptement in a Chapter 13 case to report
    expenses as of a date after the bankruptcy Is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
     applicable date.
    Include expenses paid for with non~cash government assistance if you know the value of
    such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                                    Your expenses

     4. The rental or home ownership expenses for your residence. Include                        first mortgage payments and                                      0.00
                                                                                                                                            $
            any rent for the ground or lot.                                                                                         4.

            If not included in line 4:
            4a.     Real estate taxes                                                                                               4a.     $                     0.00
             4b.    Property, homeowner's, or renter"s insurance                                                                    4b.     $                108.00
             4c.    Home maintenance, repair, and upkeep expenses                                                                   4c.     $                100.00
            4d.     Homeowner's association or condominium dues                                                                     4d.     $                  0.00

Official Form 106J                                                      Schedule J: Your Expenses                                                                 page 1
                 Case 17-31724                 Doc 16          Filed 11/27/17 Entered 11/28/17 09:30:21                   Desc Main
                                                                Document     Page 30 of 44
  Debtor 1        JoVana                        D                  Zackowski                Case number {dknown) 17-31724 amn
                  First Name     Middle Name        LasrName




                                                                                                                        Your expenses


  5. Addltional mortgage payments for your residence, such as home equity loans                                     $                     0.00
                                                                                                             5.

  6. Utilities:
      6a.    Electricity, heat. natural gas                                                                  6a.    $                   550.00
      6b.    water, sewer, garbage collection                                                                6b.    $                   130.00
      6c.    Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                   150.00
      6d.    Other. Specify: Previous electric bill                                                          6d.    $                   150.00
  7. Food and housekeeping supplies                                                                          7.     $                   275.00
  8. Childcare and children"s education costs                                                                8.     $                     0.00
  9. Clothing, laundry, and dry cleaning                                                                     9.     $                    10.00
10. Personal care products and services                                                                      10.    $                    20.00
11. Medical and dental expenses                                                                              11.    $                   100.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                    $                   100.00
    Do not include car payments.                                                                             12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $                    20.00
14. Charitable contributions and religious donations                                                        14.     $                     0.00
15. Insurance.
    Do not inciude insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                   15a.    $                   325.00
      15b. Health insurance                                                                                 15b.    $                     6.00
      15c. vehicle insurance                                                                                15c.    $                    25.00
      15d. Other insurance. Specify:                                                                        15d.    $                     0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                              16.     $                     0.00

17.   Installment or lease payments:

      17a. Car payments for vehicle 1                                                                       17a.    $                     0.00
      17b. Car payments for Vehicle 2                                                                       17b.    $                     0.00
      17c. Other. specify:                                                                                  17c.    $                     0.00
      17d. Other. Specify:                                                                                  17d.    $                     0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 1061).                                       18.   $                     0.00

19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                19.   $                     0.00

20. Other real property expenses not included in lines 4 or S of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                      20a.    $                     0.00

      20b. Real estate taxes                                                                                20b.    $                    0.00
      20c. Property, homeowner's, or renter's insurance                                                     20c.    $                    0.00
      20d. Maintenance, repair, and upkeep expenses                                                         20o.    $                    0.00
      20e. Homeowner's association or condominium dues                                                      20e.    $                    0.00


Official Form 106J                                              Schedule J: Your Expenses                                                 page 2
                  Case 17-31724              Doc 16       Filed 11/27/17 Entered 11/28/17 09:30:21                                 Desc Main
                                                           Document     Page 31 of 44
 Debtor 1         JoVana                     D                 Zackowski                        Case number (;fknownl   17-31724 amn
                               Middle Nama




21.    Other. Specify:                                                                                                  21.   +$               0.00

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                                 22a.      $          2,069.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.      $                0.00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.      $          2,069.00


23. Calculate your monthly net income.
                                                                                                                               $         3,223.85
      23a.   Copy line 12 (your comb;necJ monthly income) from Schedule I.                                          23a.

      23b.   Copy your monthly expenses from line 22c above.                                                        23b.      -$         2,069.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                               $         1,154.85
             The result is your monthly net ;ncome.                                                                 23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      SD   No.
      IJ   Yes.    Explain here:




Official Form 106J                                          Schedule J: Your Expenses                                                          page 3
                   Case 17-31724               Doc 16          Filed 11/27/17 Entered 11/28/17 09:30:21                                  Desc Main
                                                                Document     Page 32 of 44


   Debtor 1          JoVana                        D                      Zackowski
                        FlrslN11me               MlddleNeme                 LIIStName

   Debtor 2
   (Spouse, if filing) First Name               Middle Neme                 Last Name

                                                                                                                 2611 NOV 21 P 3: 52
   United States Bankruptcy Court for the: District of Connecticut                      E]
                        17-31724 amn                                                                                         FILED        "/    r-
   Case number
    (If known)                                                                                                CLEP:~c¼·1~·lt~rn~::t·
                                                                                                                r ·,1
                                                                                                                        ••   •   ,
                                                                                                                                     ·•· . Q         Check tt this is an
                                                                                                                                                     amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 04/16
 Be as complete and accurate as possible. If two married people are filing together, both are equally rasponsible for supplying correct
 Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


 16•5              utve Detalla About Your Marttal Status and Wh- You Lived BefoN


   1. What Is your current marital status?

        0     Married
        eD Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?
       [!     No
       1:1    Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                           Dates Debtor 1     Debtor 2:                                                     Dates Debtor 2
                                                                     lived there                                                                      lived thera

                                                                                        l:J   Same as Debtor 1                                       r:l   same as Debtor 1


                                                                     From                                                                                  From - - -
                 Number              Street                                                   Number Street
                                                                     To                                                                                    To



                 City                         State ZIP Code                                  City                       State ZIP Code


                                                                                        r:l   Same as Debtor 1                                       r:l   Same as Debtor 1


                                                                     From                                                                                  From _ __
                 Number              Street                                                   Number Street
                                                                     To                                                                                    To



                 City                         State ZIP Code                                  City                       State       ZIP Code


   3. Within the last   a years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories indude Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        l:J   No
        13    Yes. Make sure you fill out Schedule H: Your Codeblors (Official Fonn 106H).



 f§fj              l!xplaln the Sources of Your Income
Official Form 107                                Statement of Financial Affairs for Individuals Filing lor Bankruptcy                                        page 1
                  Case 17-31724                   Doc 16        Filed 11/27/17 Entered 11/28/17 09:30:21                                                Desc Main
                                                                 Document     Page 33 of 44
  Debtor l         JoVana                           D                     Zackowski                                  Case number"""""'' 17-31724             amn
                    First Name      MkldleName           Last Name




   4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       9      No
       CJ     Yes. Fill in the details.

                                                               -rl                                                              Dol!tor2

                                                               Sources of income                Gross Income                    Sources of Income                 Gross Income
                                                               Check all !hat apply.            (before deductions and          Check alt that apply.             (before deductions and
                                                                                                exclusions)                                                       exclusions)

              From January 1 of current year until             [J    Wages, commissions,
                                                                                                $
                                                                                                                                IJ    Wages, commissions,
                                                                                                                                                                  $,_ _ _ __
              the date you flied for bankruptcy:                     bonuses, tips                                                    bonuses, tips
                                                               CJ    Operating a business                                       CJ    Operating a business


              For last calendar year:                          [J    Wages, commissions,                                        [J Wages, commissions,
                                                                     bonuses, tips              $                                     bonuses, tips               $,_ _ _ _ __
              (January 1 to December 31,
                                                 YYYY
                                                               [J    Operating a business                                       CJ    Operating a business



              For the calendar year before that:               (J    Wages, commissions,                                        CJ    Wages, commissions,
                                                                     bonuses, tips                                                    bonuses, tips
                                                                                                $                                                                 $
              (January 1 to December 31,
                                                 yyyy
                                                               CJ    Operating a business                                       l:J   Operating a business



  5. Did you receive any other income during this year or the two previous calendar years?
      lnciude income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; Interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list It onty once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      CJ     No
      1J     Yes. Fill in the details.

                                                              Deblor1                                                           Deblorl

                                                              Sources of Income                 Gross income from               Sources of Income                 Gross Income from
                                                              Describe below.                   each source                     Describe below.                each source
                                                                                                (before deductions and                                         (before deductions and
                                                                                                excluSMlns)                                                    exclusions)



              From January 1 of current year until          Social Security                 $            29,650.00                                            $
              the date yoU filed for bankruptcy:            Lp;.se.,_n._SwjO,_,n,___ __     $'-__2~,-'-57_9_.0_0_________ $ ' - - - - - -
                                                                                                                                                               ·------
                                                                                            $                                                                 $c__ _ _ __


              For last calendar year:                       Social Security                 $            35,591.40
                                                                                             ·-----'----                        ---------                     $,_ _ _ _ __
              (January 1     to December 31, ___J           Pension                         $,_ _--"-3'c:.0-=-94-'-.-=-80.:..   -------                       $._ _ _ _ __
                                                 yyyy
                                                                                            $,_ _ _ _ _ _ - - - - - - - - $._ _ _ _ __


              For the calendar yeer before that:            Social Security                 $            35,591.40                                            $,_ _ _ _ __
                                                                                             ·---~--- - - - - - - - - -
              (January 1 to December 31, ___J               Pension                         $' ---"3:,..:,0:..::9...c4·-=-80=--                               $,_ _ _ _ __
                                                 yyyy                                        -                                  --------
                                                                                                                                                              $._ _ _ _ __
                                                                                            $




Official Fenn 107                                  Statement of Financial Affairs for Individuals FIiing for Bankruptcy                                                     page2
               Case 17-31724                       Doc 16                  Filed 11/27/17 Entered 11/28/17 09:30:21                          Desc Main
                                                                            Document     Page 34 of 44
Debtor I       JoVana                                D                         Zackowski                  Case number   (/fkrlotm)   17M31724   amn
                                  MKtlft1Nam11                la!lt Nama




               List c:.rtaln Paym1111ts You Made _ , _ You Fllad for Bankruptcy



 &.   Are etther Debtor 1 1s or Debtor 2's debts primarily consumer debts?

      CJ    No. Neijher Debtor 1 nor Debtor 2 hes primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                •incurred by an individual primarily for a personal, family, or household purpose.n
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                CJ    No. Go to line 7.

                l:l   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments tor domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                * Subject to adjustment on 4/01119 and every 3 years after that for cases filed on or after the date of adjustment.

      !II   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you flied for bankruptcy, did you pay any creditor a total of $600 or more?

                1!11 No. Go to line 7.

                l:l   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as chtld support and
                           alimony. Also, do not inciude payments to an attorney tor this bankruptcy case.


                                                                                Datu of    Total amount paid          Amount you still owe        Wu thfs payment tor ...
                                                                                payment



                       Creditor's Name
                                                                                           $                      $                                   CJ Mortgage
                                                                                                                                                      CJ Car
                       Number    St...r                                                                                                               CJ Credit card
                                                                                                                                                      CJ Loan repayment
                                                                                                                                                      [J   Suppliers or vendors

                                                 Stare             ZIP Code
                                                                                                                                                      CJ Other

                                                                                           $                      $                                   CJ Mortgage
                       Creditor's Name
                                                                                                                                                      CJ Car
                       Number    Stroet
                                                                                                                                                      l:J Credit card
                                                                                                                                                      0 Loan repayment
                                                                                                                                                      0 Suppliers or vendors
                       City                      Stale            ZIP Code
                                                                                                                                                      CJ Other


                                                                                           $_ _ _ _ _ _ _ $._ _ _ _ _ _ __
                                                                                                                                                      CJ Mortgage
                       Creditor's Name
                                                                                                                                                      CJ Car
                       Number    Street
                                                                                                                                                      CJ Credit card
                                                                                                                                                      Q    Loan repayment

                                                                                                                                                  CJ Supr,Uers or vendors
                       City                      Stare            ZIP Code
                                                                                                                                                  CJ Other -----



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page3
                Case 17-31724              Doc 16             Filed 11/27/17 Entered 11/28/17 09:30:21                         Desc Main
                                                               Document     Page 35 of 44
Debtor 1        JoVana                      D                     Zackowski                   Case number   w.,_117-31724 amn



 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders indude your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 u.s.c. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     e NO
     Cl    Yes. List all payments to an insider.
                                                                   Dmsol       Total amount     Amount you still    Reason tor this payment
                                                                   payment     paid             owe

                                                                              $"_ _ _ _ _ $_ _ _ __
            Insider's Name



            Number     Street




                                          State    ZIP Code


                                                                              $"_ _ _ _ _ $ _ _ _ __
            Insider's Name


            Number     Slreet




            City                          su11e    ZIP Gode



 a. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     EB    No
     Cl    Yes. List all payments that benefited an insider.
                                                                  Dates or     Total amount     Amount you still    Ru.son for this payment
                                                                  payment      paid             owe                 Include creditor's name

                                                                              $ _ _ _ _ _ $ _ _ _ __
            lnsldefs Name



            Number     S1ree1




                                          Stale    ZIP Code



                                                                              $._ _ _ _ _ $_ _ _ __
            rnsicler's Name



            Number     Slreet




                                          State    ZIP Code




Official Fann 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page4
                Case 17-31724               Doc 16             Filed 11/27/17 Entered 11/28/17 09:30:21                                    Desc Main
                                                                Document     Page 36 of 44
Debtor 1        JoVana                       D                      Zackowski                         Case number   ''"""'"I 17-31724 amn

Fiiifi          klentlfy Legal Acllollll, Repo•-alons, and Forecloau...
 9. Within 1 year before you filed for benkruptcy, -re you a party In any lawsuit, court action, or administrative proceeding?
    List afl such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     IJ    No
     1!11 Yes. Fill in the details.
                                                           Natura of the case                    Court or agency                                 Status ot the case

                                                          lien dispute                          Middlesex Superior Court
            case title VRM vs. Estate of Peter                                                 Court Name
                                                                                                                                                 lill   Pending

            P Zackowski Ill et al
                                                                                                                                                 1J     On appeal
                                                                                                1 Court St
                                                                                               Number    Street                                  CJ     concluded

            Case number                                                                         Middletown CT                  0645;
                                                                                               City                    State    ZIP Code




            Case title._ _ _ _ _ _ _ _ _ __                                                    Court Name
                                                                                                                                                 CJ     Pending

                                                                                                                                                 IJ on appeal
                                                                                               Number    Street                                  r:J Concluded
            Case number _ _ _ _ _ _ _ __
                                                                                               City                    Stata    ZIP COde



 10. Within 1 year before you tiled tor bankruptcy, was any ot your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     13    No. Go to line 11.
     r:I   Yes. Fill in the information below.

                                                                     Describe the property                                       Date          Value of the property


                                                                                                                                                $ _ _ _ _ __
                 CrediCOr's Name



                 Number    Street                                    Explain what happened

                                                                     [J Property was repossessed.
                                                                     [J Property was foreclosed.
                                                                     IJ    Property was garnished.
                 City                      &ate     ZIP Code         Q     Property was attached, seized, or levied.

                                                                     Describe the property                                       Otate          Value of the propeltl


                                                                                                                                                $ _ _ _ __

                 Cn:tdttor"s Name



                 Number     Street
                                                                     Explain what happened

                                                                     r:I   Property was repossessed.
                                                                     Q Property was foreclosed.
                                            State   ZIP Code
                                                                     IJ    Property was garnished.
                                                                      Q Property was attached, seized, or levied.


Official Fom, 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      pages
                   Case 17-31724                   Doc 16               Filed 11/27/17 Entered 11/28/17 09:30:21                         Desc Main
                                                                         Document     Page 37 of 44
Debtor 1           Jovana                           D                       Zackowski                      Case number fi1kOO'MIJ 17·31724   amn
                   FlrstNwne      Middle Name             Lll!lt Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     ell    No
     CJ     Yes. Fill in the details.

                                                                    Describe the acUon the creditor took                         Date action       Amount
                                                                                                                                 was taken
            Cri!ditor's Name


                                                                                                                                                   $ _ _ _ _ __
            Number      Street




            City                           State   ZIP Code        Last 4 digits of account number: xxxx-_ _ _ _


 12. Within 1 year before you fifed for bankruptcy, was any of your property In the possession of an assignee for the benefit of
     creditors1 a coun-appointed receiver, a custodian, or another official?
     Ill!   No
     CJ     Yes

fMff               I.lat C-ln Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     l/ll   NO
     CJ     Yes. Fill in the details for each gift.

             Gifts wfth a totaj value of more than $600            Describe the gifts                                            Dates you gave       Value
             per person                                                                                                          the gifts



                                                                                                                                                    $._ _ _ __
            Person to Whom You Gave the Gift

                                                                                                                                                    $ _ _ _ __



            Nlll'nbef   Street



            City                           State   ZIP COde


            Person's relationship to you


            Gifts with a total value of more than l600             Describe the gifts                                            Dates you gawi      Value
            per person                                                                                                           the gifts


                                                                                                                                                     $,_ _ _ __
            Person to Whom You Gaw the Girt

                                                                                                                                                     $,_ _ _ __



            Number      Str£oet



            City                           State   ZIP Code


            Person's relationship to you __ _



Official Fonn 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page&
                   Case 17-31724                     Doc 16       Filed 11/27/17 Entered 11/28/17 09:30:21                                   Desc Main
                                                                   Document     Page 38 of 44
Debtor 1           JoVana                              D                 Zackowski                           Case number"'""""'' 17-31724 amn
                    firsl Name




    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $800 to any charity?

       1!11   No
       CJ     Yes. Fill in the detalls for each gift or contribution.

               Gifts or contributions to charities               Describe what you contributed                                        Date )'OU         Value
               that total more than 1600                                                                                              contributed



                                                                                                                                                        $ _ _ _ _ __
              Charity's Name

                                                                                                                                                        $_ _ _ __



              Number     Street




                           State          ZIP Code




-                   List Certain LoaNs

    1s. Wtthln 1 year bafore you filed for bankruptcy or since you filed lor bankruptcy, did you lose anything bacause of theft, fire, other
       disaster, or gambling?

       (3 No
       (J Yes. Fill In the details.

               Describe the property you lost and                Describe any insurance coverage for the loss                         Date of your      Value of property
               how the loss occurred                                                                                                  loss              lost
                                                                 Include the amount that insurance has paid. List pending insurance
                                                                 daims on tine 33 of Schedule A/8: Propefty.


                                                                                                                                                        $._ _ _ __




Fifi               uat Certain Payments or Tran_,.,.
    16. Wkhln 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
        you consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       !Ill   No
       (J Yes. Fill in the details.
                                                                 Description and value of any property transfen'ed                    Date payment or   Amount of payment
                                                                                                                                      transfer was
               Person Who was Paid                                                                                                    made


               Number     Street
                                                                                                                                                        $ _ _ _ __


                                                                                                                                                        $ _ _ _ __

                                            State    ZIP Code



               Email or website address


               Person Who Made lhe Paymeflt, if Not You



Official Fann 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page7
                Case 17-31724                  Doc 16        Filed 11/27/17 Entered 11/28/17 09:30:21                                 Desc Main
                                                              Document     Page 39 of 44
Debtor 1        JoVana                           D                  Zackowski                          Case number"""""'' 17-31724 amn
                   Fi'SI Name




                                                            Description and   value of any property transferred               Date payment or        Amount of
                                                                                                                              transfer was made      payment


            Person Who was Paid
                                                                                                                                                    $ _ _ _ __

            Number       Street
                                                                                                                                                    $. _ _ _ __



            City                       Slate   ZtP Code




            Email or website address


            Person Who Made the Payment, if Not You



 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     I!    NO
     0     Yes. Fill in the details.

                                                            Descrlpdon and value of any property transferred                  Date payment or       Amount of payment
                                                                                                                              transfer was
                                                                                                                              made
            Person Who was Paid

                                                                                                                                                    $ _ _ __
            Number        Street


                                                                                                                                                    $_ _ _ __

            City                       State   ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     [!    NO




                                                                                                                                                       --
     Cl    Yes. Fill in lhe details.

                                                            Descriptk>n and value of property          Describe any property or payments received      Date transfer
                                                            transferred                                or debts paid In exchange

            Person Who Received Transfer



            Number       Street




            City                       State   ZIP Code


            Person's relationship to yau _ _ _ __



            Person Who Received Transhtr


            Number       Street




            City                       State   ZIP COde

            Person's relationship to you _ _ _ __

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   pages
                 Case 17-31724                    Doc 16        Filed 11/27/17 Entered 11/28/17 09:30:21                               Desc Main
                                                                 Document     Page 40 of 44
Debtor 1         JoVana                             D                  Zackowski                        Case number fltk_J17-31724       amn
                    FitStNEIITle    Middle Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a sell-settled trust or similar device ol which you
     are a beneficiary? (These are often called asset.protection devices.)

     lill   No
     Q      Yes. Fill in the details.

                                                              Description and value of the property transferred                                       Date transfer
                                                                                                                                                      was made


            Name of trust




 20. Within 1 year before you flied for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares In banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     l!I    No
     Q      Yes. Fill In the details.
                                                               Lut 4 digits or account number     Type or account or        Date account wu        Lut balance before
                                                                                                  instrument                closed, sold, moved,   closing or transfer
                                                                                                                            or transferred

             Name 01' Financial Institution
                                                                                                  Q Checking                                       S-~----
             Number        Street
                                                                                                  a   Savings

                                                                                                  CJ Money market
                                                                                                  Cl Brokerage
             City                        Stale    ZIP Code
                                                                                                  00the•~---


                                                               XXXX-___ - · _ _                   Q   Checking                                     $-~----
             Name of Financial Institution
                                                                                                  a   Savings

             Number        Stree1                                                                 Cl Money market
                                                                                                  CJ Brokerage
                                                                                                  00ther_ _ __
             City                        Slate    ZIP Code

 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     Ill No
     Q Yes. Fill in the details.
                                                               Who else had access to it?                     Describe the contents                       Do you still
                                                                                                                                                          have It?

                                                                                                                                                          Q   No
             Name of Financial Institution                    ......                                                                                      Q   Yes

                                                              ~ ~ - - - ----·---·
                                                              Number   Street


                                                              City       State     ZIP Code
             --·--·-----~----~
             City                        State    ?JP Code



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page9
                      Case 17-31724                  Doc 16          Filed 11/27/17 Entered 11/28/17 09:30:21                                      Desc Main
                                                                      Document     Page 41 of 44
Debtor 1              JoVana                           D                     zackowski                               Case number~-., 17-31724 amn



22. Have you stored property In a storage unit or place other than your home within 1 year before you flied for bankruptcy?
        ell   No
        Q     Yes. FIii in the details.
                                                                   Who else has or had access to It?                      Describe the contents                 Do you stlll
                                                                                                                                                                haw It?

                                                                                                                                                                0No
                Name of Slorage Facility                            Name                                                                                        Q Yes
                Number    Street                                   Number    Street


                                                                    CityStale ZIP Code

                City                        SWe      lJPCode



•MF...                 tiu11lll) Prap•,ty Y- -                  OI' Cu1t1:1ol   lor 8offleone        •IN
 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        IJ    NO
        Q     Yes. Fill in the details.
                                                                   Where is the property?                                Describe the property              Value



                OW-nar's Name                                                                                                                               $ _ _ __

                                                                  Number    Street
                Number    Street




                City                        State    ZIP Coda
                                                                  City                            .....     ZIPCON




·&ii·+
 For the purpose of Pan 10, the following definitions apply.
 'Ill   Environmental Jaw means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
        hazardous or toxic substances, wastes1 or material into the air, land, soil, surface water, groundwater, or other medium,
        Including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 it     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
        utilize it or used to own, operate, or utlllze it, inctuding disposal sites.
 • Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
        substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

        !!I   No
        Q     Yes. Fill In the details.
                                                                   Governmental unit                           Environmental law, it yau know it           Date ot notice



              Name of site                                        Govemmenllll untt


              Number     Sb'eet                                   Number    Sb'eet


                                                                  City                   State   ZIP Code


              ------------------
               City                        Slate    ZIP Code




Official Fam, 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 10
                Case 17-31724               Doc 16                  Filed 11/27/17 Entered 11/28/17 09:30:21                                       Desc Main
                                                                     Document     Page 42 of 44
Debtor l        JoVana                        D                          Zackowski                               Case number   ,,,,_,17-31724 amn
                               Mddle Name              Lastr-iame




  25. Have you notified any governmental unit of any release of hazardous material?

     Ill   No
     Q     Yes. Fill in the details.
                                                              Governmental unit                              Environmental law, if you know It                    Date of notice



            Name of site                                     Govemment.u unit

            Number    Street

                                                             -·-
                                                             City                 Slate     ZIP Cod9


            City                   State    ZF Code


 2&. Have you been a party in any Judicial or administrative proceeding under any environmental                             law? Include settlements and orders.
     1!11 No
     Q     Yes. Fill in the details,
                                                                Court or agency                                  Nature of the case                                 Status of the
                                                                                                                                                                   case
           Caae title,_ _ _ _ _ _ _ _ _ _ __

                                                                Court Name
                                                                                                                                                                   Q   Pending

                                                                                                                                                                   Q   Onappaal
                                                                Number   Street                                                                                    Q   Concluded


           Cue number                                          City                       State   21P COde



•&i•M              Glw Detalla About Y o u r - - OI' Con1111Ctlans to                              Airy••-
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           0    A sole proprietor or self--employed in a trade, profession, or other activity, either full-time or part-time
           Q    A member of a limited liability company (LLC) or limtted llabiltty pannership (LLP)
           Q    A panner In a pannership
           a    An officer I director I or managing executive of a corporation
           CJ   An owner of at least 5% of the voting or equity securities of a corporation

     Ill   No. None of the above applies. Go to Pan 12,
    Q      Yes. Check all that apply above and fill in the details below for each business.
                                                               Oeacrtbe the nature of the business                              Employer Identification number
                                                                                                                                Do not Include Social security number or ITIN.
            Bustnff& Name

                                                                                                                                EIN: _ _ _ _ _ _ _ _ _ _ _

                                                               Name of accountant or bookkeeper                                 Dates business existed


                                                                                                                                From                To
            City                   State    ZIP Code
                                                               Describe the nature of the business                              Employer ldentlficatton number
                                                                                                                                Do not Inell.Ide Social Security number or ITIN.
            Buslnasa Name

                                                                                                                                EIN: ____ • _ _ _
            Number    Streel
                                                               Name of accountant or bookkeeper                                 Dates business existed



                                                                                                                               From                 To
            City                   Slate    ZIP Code


Official Form 107                             Statement of Financial Affairs for Individuals Filing tor Bankruptcy                                                   page 11
  •                  Case 17-31724                 Doc 16        Filed 11/27/17 Entered 11/28/17 09:30:21                          Desc Main
                                                                  Document     Page 43 of 44
Debtor 1         JoVana                            D                  Zackowski                        Case number ,,,_,17-31724   amn
                     FirstNllmlt     MlddleNNne




                                                                                                                  Employer Identification number
                                                               Describe the nature of the business
                                                                                                                  Oo not Jnctude Social Security number or mN.
              Businen Name
                                                                                                                  EIN:

              Number        Sfrflt
                                                               Name of accountant or bookkeeper                   Dates business existed



                                                                                                                  From               To
              Cl1y                       State    Z1P Code




 28. Within 2 years before you filed tor bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

      !I     NO
      1:1    Yes. Fill In the details below.

                                                               Date issued




              Nome                                             MMIOOIYVYY


              Number        Street




              City                       State    ZIP Code




       I have reed the enswers on this Statement of Flnanc/al Affairs and any attachments, and I declare under penalty of perjury that the
       enswers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result In fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 u.s.c. §§ 152, 1341, 1519, and 3571.




                                                                               Signature of Debtor 2

                                                                               Date _ _ _ _ __

       Did you attach additional pages to Your Statement of Financ/a/ Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       !I     No
       1:1    Yes


       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       i!I   No
       0     Yes. Name of person _________________________ Attach the Bankruptcy Petition Preparer's Notice,
                                                           Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs tor Individuals Filing for Bankruptcy                            page 12
                      Case 17-31724              Doc 16           Filed 11/27/17 Entered 11/28/17 09:30:21                                Desc Main
                                                                   Document     Page 44 of 44

Debtor 1           JoVana                        D                 Zackowski
                                                                     la51 Name

Debtor'
{Spouse, if filing) First Name                                       LIISl"Name


United Slates Bankruptcy court tor the: District of Connecticut

Case number         17-31724 amn
                                                                                      B                    2811 NOV 21 p ): 52
(llkllown)                                                                                                         FILED
                                                                                                      CLERK.u.s. BANKRUPTCY Cn" . l             0   Check if this is an
                                                                                                        Ill STRICT OF r,n,1H<r ·, .-·, J<J• ·
                                                                                                                    t-. '' ,, . ~-                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                          12/15

  H two married - l e are filing together, both are equally responsible for supplying correct information.

 You must file this form               w....,_
                                 you file bankruplcy schedules or amended schedules. Malung a                             false--·~
                                                                                                                  concealing property, or
 oblalning money or property by fnwd in connection With a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20
 _,..,or-· 18 u.s.c. §§ 152, 1341, 1519, and 3571 .



                    ...,._
       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruplcy forms?

       i?ll   No
       (J Yes. Name of person, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach B a n k r u p t c y - ~ Nooce, Dedaralion, and
                                                                                                Signature (Official Form 119).




       Under penalty of perjury, t declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




                                                                        Signature of Debtor 2



         Date //
                MM/ OD
                      bz /;_o 17 1/   YYYY
                                                                        Date _ _ _ _ _~
                                                                                  MM/ DD /   YYYY




 Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
